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               EXHIBITA
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Row #           Case Name                   Plaintiff Firm(s)       Current Cause #
  1         McWhite, Kamonica             Ahdoot & Wolfson, PC       3:23-cv-20379
  2           Walker, Brenda              Andrus Wagstaff, P.C.      3:18-cv-01902
  3          Campbell, Sheree             Andrus Wagstaff, P.C.      3:19-cv-00655
  4            Plunkett, Shari            Andrus Wagstaff, P.C.      3:19-cv-07718
  5            Liston, George             Andrus Wagstaff, P.C.      3:19-cv-14590
  6           Choate, Shawn                 Ashcraft & Gerel         3:18-cv-00047
  7         Leatherwood, Elaine             Ashcraft & Gerel         3:18-cv-00070
  8         Longmire, Ruthie E.             Ashcraft & Gerel         3:18-cv-00072
  9             Rose, John                  Ashcraft & Gerel         3:18-cv-00092
 10            Smith, Charles               Ashcraft & Gerel         3:18-cv-00094
 11             Hart, Sandra                Ashcraft & Gerel         3:18-cv-00122
 12           Washington, Joy               Ashcraft & Gerel         3:18-cv-01354
 13           Struthers, Nancy              Ashcraft & Gerel         3:18-cv-04722
 14           Iverson, Gerald               Ashcraft & Gerel         3:18-cv-09157
 15          Bettwy, Elizabeth              Ashcraft & Gerel         3:18-cv-10551
 16           Lackey, Barbara               Ashcraft & Gerel         3:18-cv-11211
 17           Williams, Derrick             Ashcraft & Gerel         3:18-cv-11606
 18           Walters, Ronald               Ashcraft & Gerel         3:18-cv-11752
 19          Gardner, William B             Ashcraft & Gerel         3:18-cv-11837
 20         Doherty, Laura Lynn             Ashcraft & Gerel         3:18-cv-11876
 21             Beck, Kathy                 Ashcraft & Gerel         3:18-cv-12776
 22         Burkholder, Carolyn             Ashcraft & Gerel         3:18-cv-13307
 23             Roux, David                 Ashcraft & Gerel         3:18-cv-13382
 24          D'Angelo, Pamela               Ashcraft & Gerel         3:18-cv-13427
 25             Ballon, Mary                Ashcraft & Gerel         3:18-cv-17468
 26           Schimpf, Evelyn               Ashcraft & Gerel         3:18-cv-17650
 27       Gregory-Bilotta, Margaret         Ashcraft & Gerel         3:18-cv-17653
 28            Hardin, Rickye               Ashcraft & Gerel         3:18-cv-17659
 29           Brookman, Mary                Ashcraft & Gerel         3:19-cv-00058
 30            Walker, Helen                Ashcraft & Gerel         3:19-cv-00484
 31         Hasselbald, Yvonne              Ashcraft & Gerel         3:19-cv-01044
 32           Serigney, Carrie              Ashcraft & Gerel         3:19-cv-03065
 33           Sharkey, Joann                Ashcraft & Gerel         3:19-cv-03095
 34          Homack, Meaghan                Ashcraft & Gerel         3:19-cv-04396
 35          Orville, Stephanie             Ashcraft & Gerel         3:19-cv-04569
 36            Gilbert, Rachel              Ashcraft & Gerel         3:19-cv-06988
 37           Brewer, Tommy                 Ashcraft & Gerel         3:19-cv-07380
 38            Murray, Linda                Ashcraft & Gerel         3:19-cv-07405
 39          Johnson, Rhonda                Ashcraft & Gerel         3:19-cv-07775
 40         Dunn-Borgra, Laura              Ashcraft & Gerel         3:19-cv-07919
 41           Ackerman, Carol               Ashcraft & Gerel         3:19-cv-10210
 42            Raptis, Marie                Ashcraft & Gerel         3:19-cv-11530
 43           Domato, Cheryl                Ashcraft & Gerel         3:19-cv-11532
 44             Lyon, Vickie                Ashcraft & Gerel         3:19-cv-11536
 45      Wesley Dowd, Ja'Donna R            Ashcraft & Gerel         3:19-cv-11977
 46            Sacher, Adam                 Ashcraft & Gerel         3:19-cv-12420




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 47            Flynn, Sherry                    Ashcraft & Gerel                  3:19-cv-13166
 48          Coleman, Farry                     Ashcraft & Gerel                  3:19-cv-13251
 49          Damon, Sandra                      Ashcraft & Gerel                  3:23-cv-05141
 50           Mayon, Shelly                   Ashcraft & Gerel, LLP               3:18-cv-10774
 51          Angus, Meagan                    Ashcraft & Gerel, LLP               3:19-cv-06866
 52       Standefer, James Steve              Ashcraft & Gerel, LLP               3:19-cv-06867
 53          McCoy, SaTaria                   Ashcraft & Gerel, LLP               3:19-cv-07776
 54         Rouse, Stephanie                  Ashcraft & Gerel, LLP               3:19-cv-08586
 55           Rich, Lorraine                  Ashcraft & Gerel, LLP               3:19-cv-09137
 56          McCain, Stephen                  Ashcraft & Gerel, LLP               3:19-cv-09150
 57          Speed, Kimberly                  Ashcraft & Gerel, LLP               3:19-cv-09308
 58       Southwick Jr., Richard              Ashcraft & Gerel, LLP               3:19-cv-11540
 59          Wilbur, Gretchen                 Ashcraft & Gerel, LLP               3:19-cv-11995
 60          Denyer, Christina                Ashcraft & Gerel, LLP               3:19-cv-12598
 61          Schmitt, Sharon                  Ashcraft & Gerel, LLP               3:19-cv-12887
 62           Gonzalez, Irma                  Ashcraft & Gerel, LLP               3:19-cv-12889
 63        O'Connell, Kathleen                Ashcraft & Gerel, LLP               3:19-cv-12947
 64          Toplenszki, Eva                  Ashcraft & Gerel, LLP               3:19-cv-12948
 65           White, Barbara                  Ashcraft & Gerel, LLP               3:19-cv-13370
 66          Campen, Karen                    Ashcraft & Gerel, LLP               3:19-cv-13371
 67        Foncerrada, Gerardo                Ashcraft & Gerel, LLP               3:19-cv-13372
 68         Vavrinec, Kimberly                Ashcraft & Gerel, LLP               3:19-cv-13574
 69          Willett, Therese                 Ashcraft & Gerel, LLP               3:19-cv-14184
 70        McCullough, Michael                Ashcraft & Gerel, LLP               3:19-cv-14185
 71             Bell, Nellie                  Ashcraft & Gerel, LLP               3:19-cv-14186
 72           Kortyna, Kathy                  Ashcraft & Gerel, LLP               3:19-cv-14187
 73          Swenson, Janice                  Ashcraft & Gerel, LLP               3:19-cv-14188
 74          Africano II, John                Ashcraft & Gerel, LLP               3:19-cv-14599
 75             Day, Kevin                    Ashcraft & Gerel, LLP               3:19-cv-15613
 76          Faulkner, Sherry                 Ashcraft & Gerel, LLP               3:19-cv-15651
 77         McDermott, Janet                  Ashcraft & Gerel, LLP               3:19-cv-15652
 78         Kozecke, Lindsey                  Ashcraft & Gerel, LLP               3:19-cv-15774
 79          Riggio, Salvatore                Ashcraft & Gerel, LLP               3:19-cv-16022
 80            Bass, Denise                   Ashcraft & Gerel, LLP               3:19-cv-16038
 81         Bolden, Joseph W                  Ashcraft & Gerel, LLP               3:19-cv-16265
 82           Miller, Sharron                 Ashcraft & Gerel, LLP               3:19-cv-16292
 83          Mayette, Darryl K                Ashcraft & Gerel, LLP               3:19-cv-16504
 84           Schnur, Terry                   Ashcraft & Gerel, LLP               3:19-cv-16718
 85            Pepin, Roger                   Ashcraft & Gerel, LLP               3:19-cv-16840
 86           Welch, Karen                    Ashcraft & Gerel, LLP               3:19-cv-17034
 87        Farris-Foster, Valerie             Ashcraft & Gerel, LLP               3:19-cv-17035
 88         Kuykendall, Joseph                Ashcraft & Gerel, LLP               3:19-cv-17450
 89             Rice, Sean                    Ashcraft & Gerel, LLP               3:19-cv-17543
 90           Jadallah, Amal                  Ashcraft & Gerel, LLP               3:19-cv-17547
 91           Hite, Kimberly                  Ashcraft & Gerel, LLP               3:19-cv-17685
 92          Ward, Rachelle                   Ashcraft & Gerel, LLP               3:19-cv-17693




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 93        Smith, Sydney Beth                 Ashcraft & Gerel, LLP               3:19-cv-17789
 94         Jury, Angel Marie                 Ashcraft & Gerel, LLP               3:19-cv-18149
 95         Colombo, Paulette                 Ashcraft & Gerel, LLP               3:19-cv-18294
 96         Richardson, Retha                 Ashcraft & Gerel, LLP               3:19-cv-18295
 97         Rodricks, Andrea                  Ashcraft & Gerel, LLP               3:19-cv-18297
 98            Law, Nancy                     Ashcraft & Gerel, LLP               3:19-cv-18669
 99           Merida, Karyn                   Ashcraft & Gerel, LLP               3:19-cv-18670
 100        Matthews Jr., Earl                Ashcraft & Gerel, LLP               3:19-cv-18671
 101        Stachelski, Kendell               Ashcraft & Gerel, LLP               3:19-cv-18672
 102         Gamache, Reid                    Ashcraft & Gerel, LLP               3:19-cv-18961
 103          Sabb, Tranace                   Ashcraft & Gerel, LLP               3:19-cv-18963
 104        Manevich, Patricia                Ashcraft & Gerel, LLP               3:19-cv-19341
 105       Cunningham, Karli D                Ashcraft & Gerel, LLP               3:19-cv-19441
 106       Kreitzer, Sr., Donald              Ashcraft & Gerel, LLP               3:19-cv-19446
 107          Golson, Cindy                   Ashcraft & Gerel, LLP               3:19-cv-19500
 108           Bray, Nancy                    Ashcraft & Gerel, LLP               3:19-cv-19505
 109         Shelker, Nancy                   Ashcraft & Gerel, LLP               3:19-cv-20705
 110         Bohacs, Nancy                    Ashcraft & Gerel, LLP               3:19-cv-20720
 111      Lambert, Rita Frances               Ashcraft & Gerel, LLP               3:19-cv-20721
 112     Setters, Charles Timothy             Ashcraft & Gerel, LLP               3:19-cv-20723
 113        Moore, Mary Ann                   Ashcraft & Gerel, LLP               3:19-cv-20816
 114      Tarango, Deanna Marie               Ashcraft & Gerel, LLP               3:19-cv-20817
 115          Franklin, Ivan                  Ashcraft & Gerel, LLP               3:19-cv-20956
 116        Dale, Lana Yoder                  Ashcraft & Gerel, LLP               3:19-cv-21699
 117       Clifford, Emma Jean                Ashcraft & Gerel, LLP               3:19-cv-21873
 118         Richardson, Ana                  Ashcraft & Gerel, LLP               3:19-cv-21876
 119     Weber-Mullican, Karen L              Ashcraft & Gerel, LLP               3:19-cv-21882
 120         Myers, James E                   Ashcraft & Gerel, LLP               3:19-cv-22082
 121          Fansler, Linda                  Ashcraft & Gerel, LLP               3:19-cv-22239
 122           Ward, Sandy                    Ashcraft & Gerel, LLP               3:23-cv-15822
 123        Glogowski, Karen                  Ashcraft & Gerel, LLP               3:23-cv-15950
 124          Bailey, Diana                   Ashcraft & Gerel, LLP               3:23-cv-15962
 125         Bonner, Debbie                   Ashcraft & Gerel, LLP               3:23-cv-15977
 126           Trost, Robyn                   Ashcraft & Gerel, LLP               3:23-cv-15990
 127        Marshall, Tawana                  Ashcraft & Gerel, LLP               3:23-cv-16018
 128      Stephens, Rebecca A.                Ashcraft & Gerel, LLP               3:23-cv-16058
 129         Shantina, Gentry                 Ashcraft & Gerel, LLP               3:23-cv-16088
 130       Rice, Crystal Shellie              Ashcraft & Gerel, LLP               3:23-cv-16094
 131        Dewitte, Rebecca                  Ashcraft & Gerel, LLP               3:23-cv-16137
 132          Walker, Betty                   Ashcraft & Gerel, LLP               3:23-cv-16184
 133         Moore, Yakema                    Ashcraft & Gerel, LLP               3:23-cv-16465
 134      Bey, Ninotchka Lindsey              Ashcraft & Gerel, LLP               3:23-cv-16471
 135         Morrison, Telesa                 Ashcraft & Gerel, LLP               3:23-cv-16493
 136        Williams, Tammy                   Ashcraft & Gerel, LLP               3:23-cv-16646
 137        Davis-Mott, Anita                 Ashcraft & Gerel, LLP               3:23-cv-16689
 138           White, Zaire                   Ashcraft & Gerel, LLP               3:23-cv-16717




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 139         Franklin, Renee               Ashcraft & Gerel, LLP               3:23-cv-16727
 140        Branch, Christina              Ashcraft & Gerel, LLP               3:23-cv-16790
 141         Morris, Yvonne                Ashcraft & Gerel, LLP               3:23-cv-16870
 142        Halloway, Marian               Ashcraft & Gerel, LLP               3:23-cv-16924
 143          Miller, Connie               Ashcraft & Gerel, LLP               3:23-cv-16971
 144         Kennedy, Terry                Ashcraft & Gerel, LLP               3:23-cv-17122
 145       Murphy, Catherine               Ashcraft & Gerel, LLP               3:23-cv-17157
 146         Wallin, Regina                Ashcraft & Gerel, LLP               3:23-cv-17186
 147         Baxter, Kristian              Ashcraft & Gerel, LLP               3:23-cv-17478
 148         Holt, Candace                 Ashcraft & Gerel, LLP               3:23-cv-17483
 149           Nilles, Josie               Ashcraft & Gerel, LLP               3:23-cv-17510
 150         Baca, Thomas                  Ashcraft & Gerel, LLP               3:23-cv-17529
 151        Jones, Clarence                Ashcraft & Gerel, LLP               3:23-cv-17552
 152         Girgis, Marilyn               Ashcraft & Gerel, LLP               3:23-cv-17624
 153       Sprayberry, Stacey              Ashcraft & Gerel, LLP               3:23-cv-17664
 154         Tyre, Kimberly                Ashcraft & Gerel, LLP               3:23-cv-17679
 155         Walker, Maxine                Ashcraft & Gerel, LLP               3:23-cv-17693
 156          Glover, Tracy                Ashcraft & Gerel, LLP               3:23-cv-17777
 157          Fultz, Grace                 Ashcraft & Gerel, LLP               3:23-cv-17796
 158         Charles, Eleria               Ashcraft & Gerel, LLP               3:23-cv-17884
 159         Banks, Dwayne                 Ashcraft & Gerel, LLP               3:23-cv-18018
 160       Thornton, Susanne               Ashcraft & Gerel, LLP               3:23-cv-18144
 161         Lewis, Arizona                Ashcraft & Gerel, LLP               3:23-cv-18147
 162          Bell, Ronique                Ashcraft & Gerel, LLP               3:23-cv-18187
 163       Bloodgood, Matthew              Ashcraft & Gerel, LLP               3:23-cv-18211
 164        Williams, Dorine               Ashcraft & Gerel, LLP               3:23-cv-18222
 165         Stepp, Shenell                Ashcraft & Gerel, LLP               3:23-cv-18226
 166        Stubenhofer, Julie             Ashcraft & Gerel, LLP               3:23-cv-18285
 167         Shay, Samson                  Ashcraft & Gerel, LLP               3:23-cv-18387
 168         Walker, Lester                Ashcraft & Gerel, LLP               3:23-cv-18419
 169      Lincoln, Naomi Marie             Ashcraft & Gerel, LLP               3:23-cv-18428
 170        Rule, Dominique                Ashcraft & Gerel, LLP               3:23-cv-18491
 171        Cooper, Cynthia                Ashcraft & Gerel, LLP               3:23-cv-18495
 172        Williams, Lauren               Ashcraft & Gerel, LLP               3:23-cv-18512
 173       McGowan, Patricia               Ashcraft & Gerel, LLP               3:23-cv-18528
 174           Merry, Tina                 Ashcraft & Gerel, LLP               3:23-cv-18529
 175          Smith, Phyllis               Ashcraft & Gerel, LLP               3:23-cv-18547
 176         Calhoun, Debra                Ashcraft & Gerel, LLP               3:23-cv-18566
 177        Veleber, Dennie                Ashcraft & Gerel, LLP               3:23-cv-18640
 178          Breech, Essie                Ashcraft & Gerel, LLP               3:23-cv-18654
 179        Ferguson, Janice               Ashcraft & Gerel, LLP               3:23-cv-18670
 180        Seahorn, Amelia                Ashcraft & Gerel, LLP               3:23-cv-18699
 181        Stokes, Chimeko                Ashcraft & Gerel, LLP               3:23-cv-18730
 182        Wooten, Dorothy                Ashcraft & Gerel, LLP               3:23-cv-18762
 183        Nelson, Lakeshia               Ashcraft & Gerel, LLP               3:23-cv-18803
 184          Glover, Doni                 Ashcraft & Gerel, LLP               3:23-cv-18818




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 185          Johnston, Warren                            Ashcraft & Gerel, LLP                      3:23-cv-18820
 186           Frederick, Harry                           Ashcraft & Gerel, LLP                      3:23-cv-18832
 187           Bellaney, Earline                          Ashcraft & Gerel, LLP                      3:23-cv-18854
 188            Robledo, Rosa                             Ashcraft & Gerel, LLP                      3:23-cv-18867
 189           Hartwell, Roger                            Ashcraft & Gerel, LLP                      3:23-cv-18869
 190    Aquavella, Heather and Charles                    Ashcraft & Gerel, LLP                      3:23-cv-20005
 191         Matlock, Samantha                            Ashcraft & Gerel, LLP                      3:23-cv-20160
 192            Baker, John D.                            Ashcraft & Gerel, LLP                      3:23-cv-20197
 193       Rogers, Madeline Angela                        Ashcraft & Gerel, LLP                      3:23-cv-20943
 194           Green, Dorothy                             Ashcraft & Gerel, LLP                      3:23-cv-21322
 195           Creech, Charles                 Aylstock, Witkin, Kreis & Overholtz, PLLC             3:19-cv-00879
 196           Glasser, William                Aylstock, Witkin, Kreis & Overholtz, PLLC             3:19-cv-12094
 197           Anderson, Macy                            Bachus & Schanker LLC                       3:18-cv-14777
 198           Rodman, Teresa                            Bachus & Schanker LLC                       3:19-cv-00274
 199        Medina, Michelle Marie                       Bachus & Schanker LLC                       3:19-cv-00275
 200            Graham, Ada                              Bachus & Schanker LLC                       3:19-cv-00278
 201      McNicholas, Siobhan Julia                      Barrett Law Group, P.A.                     3:18-cv-00033
 202     Alexander, Sherry Lashaunda            Baum, Hedlund, Aristei & Goldman, P.C.               3:19-cv-00477
 203            Lang, Kelly J.                  Baum, Hedlund, Aristei & Goldman, P.C.               3:19-cv-02269
 204         Whittle, Youlanda C                Baum, Hedlund, Aristei & Goldman, P.C.               3:19-cv-13142
 205     Walker, Steven Tyler Eugene            Baum, Hedlund, Aristei & Goldman, P.C.               3:19-cv-20113
 206          Waters, Joanna K             Beasley, Allen, Crow, Methvin, Portis & Miles, P.C.       3:18-cv-11399
 207             Ohrt, Sheryl                          Ben Martin Law Group, PLLC                    3:23-cv-19682
 208            Ali, Shumaila                          Ben Martin Law Group, PLLC                    3:23-cv-19691
 209            Mcintire, Dona                         Ben Martin Law Group, PLLC                    3:23-cv-19706
 210           Gonzalez, Linda                         Ben Martin Law Group, PLLC                    3:23-cv-19731
 211             Ulloa, Daisy                          Ben Martin Law Group, PLLC                    3:23-cv-19737
 212             Boober, Tina                          Ben Martin Law Group, PLLC                    3:23-cv-19740
 213           Caldwell, Letoria                       Ben Martin Law Group, PLLC                    3:23-cv-19746
 214             Ewry, Arika                           Ben Martin Law Group, PLLC                    3:23-cv-19755
 215           Buckner, Sharon                         Ben Martin Law Group, PLLC                    3:23-cv-19762
 216          Thompson, Lajuan                         Ben Martin Law Group, PLLC                    3:23-cv-19778
 217           Behrens, Joseph                         Ben Martin Law Group, PLLC                    3:23-cv-19785
 218            Smith, Andrea                          Ben Martin Law Group, PLLC                    3:23-cv-19790
 219           Clarke, Pamela                          Ben Martin Law Group, PLLC                    3:23-cv-19794
 220           McCann, Kaylee                          Ben Martin Law Group, PLLC                    3:23-cv-19795
 221             Garza, Erika                          Ben Martin Law Group, PLLC                    3:23-cv-19812
 222            Boulier, Mark                           Berman & Simmons, P. A.                      3:18-cv-05009
 223           Anforth, Donna                          BERNSTEIN & STERN, LLC                        3:18-cv-16086
 224           Morales, Lydia E                        BERNSTEIN & STERN, LLC                        3:19-cv-19064
 225            Cicero, Cheryl                              Brown Chiari LLP                         3:18-cv-00852
 226             Frost, Linda                               Brown Chiari LLP                         3:18-cv-00853
 227         Woelfel, Rosemarie                             Brown Chiari LLP                         3:18-cv-00854
 228           Chiari, Donald R                             Brown Chiari LLP                         3:18-cv-01841
 229         Frost, Wesley James                            Brown Chiari LLP                         3:23-cv-19980
 230           Crocoll, Tracey                           Bruera Law Firm PLLC                        3:18-cv-11624




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 231         Harper, Richard                       Burns Charest LLP                  3:18-cv-03789
 232        Maxwell, Barbara                       Burns Charest LLP                  3:18-cv-05236
 233         Watson, Esther                        Burns Charest LLP                  3:18-cv-05827
 234         Sanders, Anita                        Burns Charest LLP                  3:18-cv-11123
 235        Goodwin, Patricia                      Burns Charest LLP                  3:18-cv-15342
 236         Taylor, Yolanda                       Burns Charest LLP                  3:18-cv-16801
 237          Henry, Patrice                       Burns Charest LLP                  3:19-cv-01018
 238       Matsumoto, Michael                      Burns Charest LLP                  3:19-cv-06315
 239         Sanchez, Frank                        Burns Charest LLP                  3:19-cv-08277
 240       Lawandales, Jason                       Burns Charest LLP                  3:23-cv-18555
 241        Jackson, Pamela                        Burns Charest LLP                  3:23-cv-18568
 242        Harrelson, Debbie                      Burns Charest LLP                  3:23-cv-18586
 243         Garza, Veronica                       Burns Charest LLP                  3:23-cv-18605
 244        James, Barbarra                        Burns Charest LLP                  3:23-cv-18612
 245           Boyl, Tasha                         Burns Charest LLP                  3:23-cv-18646
 246           Ollis, Connie                       Burns Charest LLP                  3:23-cv-18652
 247       Decoursey, Garnet                       Burns Charest LLP                  3:23-cv-18660
 248       Edmonds, Heather                        Burns Charest LLP                  3:23-cv-18669
 249         Morris, Javona                        Burns Charest LLP                  3:23-cv-18678
 250          Zapata, Jamie                        Burns Charest LLP                  3:23-cv-18687
 251          Shipley, Leah                        Burns Charest LLP                  3:23-cv-18690
 252        Walker, Christina                      Burns Charest LLP                  3:23-cv-18705
 253         Brooks, Patricia                      Burns Charest LLP                  3:23-cv-18718
 254       Fernandez, Pauline                      Burns Charest LLP                  3:23-cv-18741
 255         Toro, Maria Del                       Burns Charest LLP                  3:23-cv-18755
 256        Broeckwr, Susan                        Burns Charest LLP                  3:23-cv-18796
 257         Herrera, Wendy                        Burns Charest LLP                  3:23-cv-19356
 258       Mcdonald, Deborah                       Burns Charest LLP                  3:23-cv-19383
 259        Sanchez, Adelita            Burns Charest LLP // Burns Charest LLP        3:18-cv-00265
 260        Simmons, Brenda             Burns Charest LLP // Burns Charest LLP        3:18-cv-00684
 261         Sanders, Paula             Burns Charest LLP // Burns Charest LLP        3:18-cv-01497
 262         Carter, Brenda             Burns Charest LLP // Burns Charest LLP        3:18-cv-02360
 263         Jones, Patricia            Burns Charest LLP // Burns Charest LLP        3:19-cv-05808
 264          Lewis, Robert             Burns Charest LLP // Burns Charest LLP        3:19-cv-09270
 265         Spetrini, Patricia         Burns Charest LLP // Burns Charest LLP        3:19-cv-16997
 266     Estate of Lisa A. Cheese              Calcagno & Associates, LLP             3:18-cv-01125
 267          Dixon, Brenda                       Cates Mahoney, LLC                  3:18-cv-02373
 268     Goldschmidt, Cassandra                   Cates Mahoney, LLC                  3:18-cv-02383
 269         Miller, Teressa                      Cates Mahoney, LLC                  3:18-cv-02384
 270         Prokop, Cynthia                      Cates Mahoney, LLC                  3:18-cv-02385
 271         Robbins, Cindy                       Cates Mahoney, LLC                  3:18-cv-02386
 272          Holmes, Elijah                      Cates Mahoney, LLC                  3:18-cv-02426
 273       Lean, Lindsey Blake                    Cates Mahoney, LLC                  3:18-cv-02431
 274       Stewart, Jackie Lee                    Cates Mahoney, LLC                  3:18-cv-02433
 275        Lefosse, Francine                     Cates Mahoney, LLC                  3:23-cv-18775
 276         Zigman, Robin                          Cellino Law LLP                   3:18-cv-03780




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 277        Colantino, Robert                 Cellino Law LLP                   3:18-cv-05397
 278        Munoz, Sharon K                   Cellino Law LLP                   3:18-cv-08263
 279         Groth, Richard C                 Cellino Law LLP                   3:18-cv-10949
 280         Gadsden, Minnie                  Cellino Law LLP                   3:18-cv-11239
 281         Pilcher, Brenda                  Cellino Law LLP                   3:18-cv-12255
 282          Korop, Randy                    Cellino Law LLP                   3:18-cv-12290
 283          Olix, Lacie E.                  Cellino Law LLP                   3:18-cv-12666
 284       Bergheger, Roger L.                Cellino Law LLP                   3:18-cv-12682
 285      Du Purton, Panagiota                Cellino Law LLP                   3:18-cv-12942
 286      Cividanes, Francisco M              Cellino Law LLP                   3:18-cv-12943
 287          Meyer, Alison                   Cellino Law LLP                   3:18-cv-12945
 288         Horne, Destinie                  Cellino Law LLP                   3:18-cv-13249
 289          Rice, Mary E                    Cellino Law LLP                   3:18-cv-13656
 290         Riopedre, Rosa                   Cellino Law LLP                   3:18-cv-13683
 291         Burley, Barbara                  Cellino Law LLP                   3:18-cv-13952
 292        Garozzo, Nancy A                  Cellino Law LLP                   3:18-cv-14158
 293      Robinson-Horton, Gail               Cellino Law LLP                   3:18-cv-14346
 294         Homire, Darlene                  Cellino Law LLP                   3:18-cv-14348
 295         Bennett, Regina                  Cellino Law LLP                   3:18-cv-14581
 296        Hawes, Lawrence                   Cellino Law LLP                   3:18-cv-14662
 297         Magera, Michael                  Cellino Law LLP                   3:18-cv-14663
 298         Hayes, Robert J                  Cellino Law LLP                   3:18-cv-14865
 299          Bair, Clinton T                 Cellino Law LLP                   3:18-cv-14980
 300        Sharifirad, Afshan                Cellino Law LLP                   3:18-cv-15136
 301         Doyle, Karen B                   Cellino Law LLP                   3:18-cv-15272
 302         Flores, Carmen                   Cellino Law LLP                   3:18-cv-15288
 303        Freeburg, Jennifer                Cellino Law LLP                   3:18-cv-15299
 304        Depace, Frances                   Cellino Law LLP                   3:18-cv-16167
 305         Giorlando, Maria                 Cellino Law LLP                   3:18-cv-16189
 306         Nowicki, David E                 Cellino Law LLP                   3:18-cv-17162
 307       Matteson, Kathleen J               Cellino Law LLP                   3:18-cv-17664
 308        Russo, Michael J                  Cellino Law LLP                   3:19-cv-01000
 309        Coleman, Christine                Cellino Law LLP                   3:19-cv-01983
 310         Cimino, Laura M                  Cellino Law LLP                   3:19-cv-05592
 311          Nole, Judy W                    Cellino Law LLP                   3:19-cv-05851
 312          Miller, Doris M                 Cellino Law LLP                   3:19-cv-08479
 313         Dewall, Connie L                 Cellino Law LLP                   3:19-cv-08557
 314        Arroyo, Merida M                  Cellino Law LLP                   3:19-cv-09244
 315         Katz, Roberta L                  Cellino Law LLP                   3:19-cv-11418
 316        Grame, Michelina                  Cellino Law LLP                   3:19-cv-12975
 317      Carpen, Nandikumarie                Cellino Law LLP                   3:19-cv-12976
 318         Johann, Sylvia L                 Cellino Law LLP                   3:19-cv-14686
 319        Burgio, Sharon A                  Cellino Law LLP                   3:19-cv-15044
 320         Colon, Donna M.                  Cellino Law LLP                   3:19-cv-15081
 321        Adragna, Doreen                   Cellino Law LLP                   3:19-cv-15082
 322       Athanasio, Barbara                 Cellino Law LLP                   3:19-cv-15083




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Row #          Case Name                        Plaintiff Firm(s)                Current Cause #
 323         Berdzik, Gregory                   Cellino Law LLP                   3:19-cv-15699
 324           Guisti, Rose                     Cellino Law LLP                   3:19-cv-15743
 325         Croal, Collette N                  Cellino Law LLP                   3:19-cv-16463
 326          Paul, Evelyn E                    Cellino Law LLP                   3:19-cv-16642
 327         Nevins, Mary E                     Cellino Law LLP                   3:19-cv-16643
 328         Brown, Arlene T                    Cellino Law LLP                   3:19-cv-16645
 329          Jarvis, Rose M                    Cellino Law LLP                   3:19-cv-16646
 330        Beasley, Donna M                    Cellino Law LLP                   3:19-cv-16672
 331       Senger, Theresa M                    Cellino Law LLP                   3:19-cv-17042
 332      Delpriore, Mary Anne                  Cellino Law LLP                   3:19-cv-17045
 333        Fanelli, Patricia A                 Cellino Law LLP                   3:19-cv-17131
 334         Gravely, Donna                     Cellino Law LLP                   3:19-cv-17433
 335         Moore, Judith A                    Cellino Law LLP                   3:19-cv-17743
 336       Bukaty, Julianne M                   Cellino Law LLP                   3:19-cv-17745
 337       Neumann, Sandra L                    Cellino Law LLP                   3:19-cv-18075
 338         Berlowitz, Myra                    Cellino Law LLP                   3:19-cv-18076
 339         Brown, Joan M                      Cellino Law LLP                   3:19-cv-18077
 340          Grace, Kay F                      Cellino Law LLP                   3:19-cv-18078
 341        Beehler, Bonnie A.                  Cellino Law LLP                   3:19-cv-18209
 342        Gorkin, Marjorie B                  Cellino Law LLP                   3:19-cv-18210
 343        Patterson, Cynthia                  Cellino Law LLP                   3:19-cv-18218
 344       Adorno, Carmen A.                    Cellino Law LLP                   3:19-cv-18220
 345          Kay, Steven M                     Cellino Law LLP                   3:19-cv-18221
 346      Maniscalco, Christine                 Cellino Law LLP                   3:19-cv-18223
 347     Lubas-Sirianni, Elizabeth              Cellino Law LLP                   3:19-cv-18225
 348         Flunder, Joanne                    Cellino Law LLP                   3:19-cv-18226
 349         Gravelle, Lori A.                  Cellino Law LLP                   3:19-cv-18228
 350        Elliott, Marshiyyat                 Cellino Law LLP                   3:19-cv-18298
 351          Hicks, Lynn M.                    Cellino Law LLP                   3:19-cv-18522
 352        Fahrer, Martha J.                   Cellino Law LLP                   3:19-cv-18681
 353       Buzzelli, Ann Marie                  Cellino Law LLP                   3:19-cv-18777
 354        Graham, Marie A.                    Cellino Law LLP                   3:19-cv-18782
 355           Kelly, Elissa                    Cellino Law LLP                   3:19-cv-18788
 356         Orlando, Kristina                  Cellino Law LLP                   3:19-cv-18793
 357         Araujo, Gloria M.                  Cellino Law LLP                   3:19-cv-18796
 358        Detonno, Theresa                    Cellino Law LLP                   3:19-cv-18797
 359        Jankowiak, Erin R.                  Cellino Law LLP                   3:19-cv-18801
 360         Cleary, Sylvester                  Cellino Law LLP                   3:19-cv-18804
 361           Rogers, Amy                      Cellino Law LLP                   3:19-cv-18828
 362       Polite, Cassandra A.                 Cellino Law LLP                   3:19-cv-18835
 363        McCarty, Robin D.                   Cellino Law LLP                   3:19-cv-18931
 364           Howell, Kelly                    Cellino Law LLP                   3:19-cv-18934
 365       Washington, Salome                   Cellino Law LLP                   3:19-cv-18935
 366        Detwiler, Margaret                  Cellino Law LLP                   3:19-cv-18936
 367        Minielly, Kimberly                  Cellino Law LLP                   3:19-cv-18938
 368         Signorelli, Mary                   Cellino Law LLP                   3:19-cv-18980




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Row #         Case Name                        Plaintiff Firm(s)               Current Cause #
 369         Bristow, Felecia                  Cellino Law LLP                  3:19-cv-19079
 370       Marinaro, Debbie A                  Cellino Law LLP                  3:19-cv-19080
 371       Acton, Elizabeth A                  Cellino Law LLP                  3:19-cv-19188
 372        Takushi, Seishin                   Cellino Law LLP                  3:19-cv-19194
 373         Eishen, Diane                     Cellino Law LLP                  3:19-cv-19196
 374        Levesque, Elaine                   Cellino Law LLP                  3:19-cv-19313
 375        Fusaro, Carmela                    Cellino Law LLP                  3:19-cv-19318
 376       McShea, Elizabeth                   Cellino Law LLP                  3:19-cv-19319
 377         Ossen, Arnold                     Cellino Law LLP                  3:19-cv-19440
 378        Jones, Tonish E                    Cellino Law LLP                  3:19-cv-19583
 379        Porcher, Claudia                   Cellino Law LLP                  3:19-cv-19882
 380       Henneberger, David                  Cellino Law LLP                  3:19-cv-19961
 381        Parmar, Kokila H                   Cellino Law LLP                  3:19-cv-19963
 382       Condello, Donna A                   Cellino Law LLP                  3:19-cv-19988
 383        Maass, Kathleen                    Cellino Law LLP                  3:19-cv-20219
 384         Gervais, Sally J                  Cellino Law LLP                  3:19-cv-20222
 385         Mikulka, Lois J                   Cellino Law LLP                  3:19-cv-20224
 386    McDonald-Addison, Teresa               Cellino Law LLP                  3:19-cv-20285
 387       Freier, Catherine M                 Cellino Law LLP                  3:19-cv-20287
 388        Stasio, Thomas C                   Cellino Law LLP                  3:19-cv-20405
 389        Waldron, Karen L                   Cellino Law LLP                  3:19-cv-20434
 390         Katz, Carolyn A                   Cellino Law LLP                  3:19-cv-20435
 391       Beach, Theresa M                    Cellino Law LLP                  3:19-cv-20574
 392          LePore, Gale                     Cellino Law LLP                  3:19-cv-20575
 393     Viele-Russo, Vanessa M                Cellino Law LLP                  3:19-cv-20576
 394         Fisher, Theresa                   Cellino Law LLP                  3:19-cv-20602
 395         Ostrovskis Lilija                 Cellino Law LLP                  3:19-cv-20604
 396           Kent, Lori A                    Cellino Law LLP                  3:19-cv-20727
 397        Hollander, Joan S                  Cellino Law LLP                  3:19-cv-20728
 398       Listengart, Janie B                 Cellino Law LLP                  3:19-cv-20729
 399          Caba, Juana                      Cellino Law LLP                  3:19-cv-20730
 400        Vega, Darlene M.                   Cellino Law LLP                  3:19-cv-20733
 401       Woodyard, James A                   Cellino Law LLP                  3:19-cv-20739
 402       Chudyk, Kristine M                  Cellino Law LLP                  3:19-cv-20771
 403       O'Connor, Linda E                   Cellino Law LLP                  3:19-cv-20871
 404        Bartus, Barbara A                  Cellino Law LLP                  3:19-cv-20873
 405         Falbo, Carol A                    Cellino Law LLP                  3:19-cv-20874
 406       DeClerck, Diane M                   Cellino Law LLP                  3:19-cv-20946
 407         Corsetti, Salma                   Cellino Law LLP                  3:19-cv-20947
 408       Melville, Joanne M.                 Cellino Law LLP                  3:19-cv-20971
 409         Farkas, Melvyn                    Cellino Law LLP                  3:19-cv-20990
 410       Podmore, Margaret                   Cellino Law LLP                  3:19-cv-20991
 411         Devita, Gerard                    Cellino Law LLP                  3:19-cv-20994
 412     Kaczmarek, Edmund D                   Cellino Law LLP                  3:19-cv-20995
 413         Morra, Denise                     Cellino Law LLP                  3:19-cv-20997
 414          Sommer, Sari                     Cellino Law LLP                  3:19-cv-20999




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Row #          Case Name                                 Plaintiff Firm(s)                       Current Cause #
 415      Calviello, Geraldine S                         Cellino Law LLP                          3:19-cv-21044
 416           Khan, Shaira                              Cellino Law LLP                          3:19-cv-21048
 417           Madho, Rita                               Cellino Law LLP                          3:19-cv-21062
 418         Cassella, Silveria                          Cellino Law LLP                          3:19-cv-21064
 419          Jones, Merle E                             Cellino Law LLP                          3:19-cv-21065
 420         Layman, Allan L.                            Cellino Law LLP                          3:19-cv-21094
 421         Hayes, Paula M                              Cellino Law LLP                          3:19-cv-21098
 422        Cimino, Joseph C.                            Cellino Law LLP                          3:19-cv-21191
 423      Kahraman, Kathleen A                           Cellino Law LLP                          3:19-cv-21275
 424        Kader, Edward J III                          Cellino Law LLP                          3:19-cv-21278
 425           Janiga, Linda                             Cellino Law LLP                          3:19-cv-21477
 426         Ohar, Pamela J                              Cellino Law LLP                          3:19-cv-21968
 427        Lutringer, Bruce C                           Cellino Law LLP                          3:19-cv-21978
 428      Guzman, Sophia Julia                        Clayeo C. Arnold, APC                       3:19-cv-17675
 429           King, Roger                           Clifford Law Offices, P.C.                   3:18-cv-03342
 430           Meyer, David              Cohen & Malad, LLP // Nix Patterson & Roach              3:18-cv-08578
 431          Dooher, Carol                         Coppice Asset Management                      3:18-cv-06321
 432         Mccrary, Ashley                        Cory Watson Attorneys, P.C.                   3:23-cv-17669
 433       Chiarello, Geraldine                     Cory Watson Attorneys, P.C.                   3:23-cv-18434
 434          Branham, Vicki                        Cory Watson Attorneys, P.C.                   3:23-cv-18503
 435           Tolin, Shelia                Cory, Watson, Crowder & Degaris, P.C.                 3:19-cv-13411
 436           Becker, Mary                 Cory, Watson, Crowder & Degaris, P.C.                 3:19-cv-14197
 437            Allen, Kelly                Cory, Watson, Crowder & Degaris, P.C.                 3:19-cv-16218
 438         Lampley, Tonya                 Cory, Watson, Crowder & Degaris, P.C.                 3:19-cv-17392
 439          Barry, Linda M                                   CPC                                3:18-cv-02586
 440     Borchardt, Nancy & David                              CPC                                3:18-cv-02588
 441        Castillo, Brittany C.                              CPC                                3:18-cv-02591
 442     Gandarilla, Grace & Jose                              CPC                                3:18-cv-02595
 443        Snyder, Donna J.                                   CPC                                3:18-cv-02598
 444         Arabia, Dominick                                  CPC                                3:19-cv-08870
 445         Mitchell, Darlene                         Dalimonte Rueb, LLP                        3:18-cv-14464
 446           Kortz, Teresa                           Dalimonte Rueb, LLP                        3:19-cv-05409
 447       Kraszczak, Victoria A                       Dalimonte Rueb, LLP                        3:19-cv-21363
 448        Dobbins, Lucinda                           Dalimonte Rueb, LLP                        3:19-cv-22112
 449           Frazier, Carol       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-00969
 450         Stodghill, Janice      Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-02844
 451             Keel, Eric         Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-02963
 452           Hunter, Kelly        Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-03939
 453        Vanness, Natasha        Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-05413
 454        McMickle, Luanne        Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-05415
 455       Harbin, Averl Renee      Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-05530
 456          Cody, Michael         Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-08382
 457      Davis-Thomas, Karen       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-08399
 458         Jones, Elizabeth       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-08448
 459      Waybright, David Allen    Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11136
 460         Johnson, Patricia      Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11291




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Row #         Case Name                              Plaintiff Firm(s)                         Current Cause #
 461         McCoy, Wanda         Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11296
 462        Miloro, Elizabeth     Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11314
 463          Roth, Susan         Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11315
 464      Undercuffler, Luretta   Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11317
 465         Brittman, Julius     Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11689
 466      Washington, Roberta     Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11692
 467          Blake, Alicia       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11712
 468        Hildebrandt, Lisa     Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11732
 469        Campanella, Rita      Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11838
 470         Morton, Bahiya       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11840
 471       Doughtery, Windy       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11935
 472           Lane, Tina         Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-11939
 473        Waller, Rebecca       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-12003
 474     Lebbert-Herlen, Stacey   Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-12052
 475          Elliott, Dawn       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-12683
 476          Flores, Tina        Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-12688
 477       Marquardt, Colleen     Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13042
 478         Snyder, Linda        Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13270
 479         Myers, Andrea        Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13392
 480      Werren, Mary Patricia   Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13726
 481          Engle, Susan        Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13760
 482        Wilkins, Rebecca      Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13845
 483         Oviedo, Maria        Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13848
 484         Hill, Julie Ann      Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13850
 485      O'Connor, Rebecca       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13856
 486       McPhillips, Laurie     Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13859
 487         Steppe, Wendy        Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13863
 488         Fitch, Dorothy       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13977
 489        Fox, Teresa Ann       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13979
 490        Thomas, Susan         Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-13981
 491          Berry, Vicky        Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-14094
 492      Thilmany, Stephanie     Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-14160
 493          Martins, Lori       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-14164
 494         Harrell, Belinda     Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-14167
 495           Hill, Dawn         Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-14181
 496           Kelly, Gail        Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-14290
 497        Brinkman, David       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-15626
 498        Richard, Brenda       Daniel & Associates, LLC // The Whitehead Law Firm, LLC       3:18-cv-15630
 499         Gagnon, Marie                    Davis, Bethune & Jones, L.L.C.                    3:23-cv-16258
 500         Graves, Teresa                   Davis, Bethune & Jones, L.L.C.                    3:23-cv-16278
 501         Murphy, Helen                    Davis, Bethune & Jones, L.L.C.                    3:23-cv-16830
 502      Olmstead, Rebecca                   Davis, Bethune & Jones, L.L.C.                    3:23-cv-17596
 503        Oquendo, Willie                   Davis, Bethune & Jones, L.L.C.                    3:23-cv-17618
 504        Thomas, Marlene                   Davis, Bethune & Jones, L.L.C.                    3:23-cv-17733
 505        Walker, Veronica                  Davis, Bethune & Jones, L.L.C.                    3:23-cv-17757
 506         Worsley, Tina                    Davis, Bethune & Jones, L.L.C.                    3:23-cv-17850




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 507       Becketts, Richard            Davis, Bethune & Jones, L.L.C.          3:23-cv-18524
 508       Kelderhouse, Don             Davis, Bethune & Jones, L.L.C.          3:23-cv-18802
 509         Burnside, Jone             Davis, Bethune & Jones, L.L.C.          3:23-cv-20144
 510        Foreman, Robin              Davis, Bethune & Jones, L.L.C.          3:23-cv-20175
 511          Fulk, Marian              Davis, Bethune & Jones, L.L.C.          3:23-cv-20178
 512       Hodges, Elizabeth            Davis, Bethune & Jones, L.L.C.          3:23-cv-20196
 513         Jones, Britania            Davis, Bethune & Jones, L.L.C.          3:23-cv-20203
 514         Reid, Brenda               Davis, Bethune & Jones, L.L.C.          3:23-cv-20220
 515        Rowland, Shirley            Davis, Bethune & Jones, L.L.C.          3:23-cv-20225
 516        Crouch, James               Davis, Bethune & Jones, L.L.C.          3:23-cv-20266
 517       Stedum, Gene Van             Davis, Bethune & Jones, L.L.C.          3:23-cv-20281
 518        Allen, Roxanna                  De La Rosa Law, P.A.                3:23-cv-21353
 519          Self, Christa                 De La Rosa Law, P.A.                3:23-cv-21534
 520         Knauls, Ruby                   De La Rosa Law, P.A.                3:23-cv-21538
 521         Levine, Della                  De La Rosa Law, P.A.                3:23-cv-21539
 522           Lee, Anita                   De La Rosa Law, P.A.                3:23-cv-21540
 523         Ritter, Donna                  De La Rosa Law, P.A.                3:23-cv-21541
 524       Rodriguez, Rachel                De La Rosa Law, P.A.                3:23-cv-21543
 525         Sloper, Janelle                De La Rosa Law, P.A.                3:23-cv-21544
 526          Botkin, Lucie                 De La Rosa Law, P.A.                3:23-cv-21545
 527          Vond, Annie                   De La Rosa Law, P.A.                3:23-cv-21555
 528          Hill, Barbara                 De La Rosa Law, P.A.                3:23-cv-21559
 529         Bailey, Betsy                  De La Rosa Law, P.A.                3:23-cv-21561
 530         Bradley, Betty                 De La Rosa Law, P.A.                3:23-cv-21564
 531        Rollins, Carolyn                De La Rosa Law, P.A.                3:23-cv-21565
 532      Sanchez, Catherine                De La Rosa Law, P.A.                3:23-cv-21569
 533       Rivenburgh, Cathy                De La Rosa Law, P.A.                3:23-cv-21575
 534         Olinske, Helen                 De La Rosa Law, P.A.                3:23-cv-21577
 535       Demarco, Celeste                 De La Rosa Law, P.A.                3:23-cv-21579
 536         Olinske, Helen                 De La Rosa Law, P.A.                3:23-cv-21604
 537       Buckley, Charlotte               De La Rosa Law, P.A.                3:23-cv-21605
 538         Scahill, Cheryl                De La Rosa Law, P.A.                3:23-cv-21610
 539        Williams, Janise                De La Rosa Law, P.A.                3:23-cv-21611
 540          Smith, Julie                  De La Rosa Law, P.A.                3:23-cv-21612
 541     Dempsey, Karen Perigo              De La Rosa Law, P.A.                3:23-cv-21613
 542       Hertlein, Cindy Jo               De La Rosa Law, P.A.                3:23-cv-21614
 543       Auld, Karla Dianne               De La Rosa Law, P.A.                3:23-cv-21617
 544       Zwinge, Kathleen                 De La Rosa Law, P.A.                3:23-cv-21618
 545      Dalke, Helen Barbara              De La Rosa Law, P.A.                3:23-cv-21619
 546         Petillo, Grace                 De La Rosa Law, P.A.                3:23-cv-21620
 547         Cofran, Laura                  De La Rosa Law, P.A.                3:23-cv-21621
 548        Torres, Cynthia                 De La Rosa Law, P.A.                3:23-cv-21626
 549      Landin, Laura Imelda              De La Rosa Law, P.A.                3:23-cv-21629
 550       Tomasso, Deborah                 De La Rosa Law, P.A.                3:23-cv-21630
 551          Jones, Linda                  De La Rosa Law, P.A.                3:23-cv-21633
 552      Parraway, Lisa Jean               De La Rosa Law, P.A.                3:23-cv-21635




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 553       Gutierrez, Lisa Marie                De La Rosa Law, P.A.               3:23-cv-21637
 554          Redman, Lori                      De La Rosa Law, P.A.               3:23-cv-21639
 555        Carney, Madeline                    De La Rosa Law, P.A.               3:23-cv-21641
 556         Kekawa, Grace                      De La Rosa Law, P.A.               3:23-cv-21643
 557         Keenan, Dianne                     De La Rosa Law, P.A.               3:23-cv-21646
 558    Acosta Rodriguez, Maria V.              De La Rosa Law, P.A.               3:23-cv-21657
 559        Pilgreen, Marjorie                  De La Rosa Law, P.A.               3:23-cv-21658
 560     Ryals, Marlene Johnson                 De La Rosa Law, P.A.               3:23-cv-21660
 561          Madril, Naomi                     De La Rosa Law, P.A.               3:23-cv-21663
 562          Exum, Pamela                      De La Rosa Law, P.A.               3:23-cv-21665
 563         Shanks, Pamela                     De La Rosa Law, P.A.               3:23-cv-21667
 564      Kalsinski, Patricia Ann               De La Rosa Law, P.A.               3:23-cv-21671
 565         Lay, Regina Lyn                    De La Rosa Law, P.A.               3:23-cv-21672
 566         Allen, Roxanna                     De La Rosa Law, P.A.               3:23-cv-21675
 567          Knauls, Ruby                      De La Rosa Law, P.A.               3:23-cv-21676
 568          Baker, Sherri                     De La Rosa Law, P.A.               3:23-cv-21681
 569           Lepri, Susan                     De La Rosa Law, P.A.               3:23-cv-21682
 570         Harris, Tammra                     De La Rosa Law, P.A.               3:23-cv-21686
 571       Madisen, Terra Ann                   De La Rosa Law, P.A.               3:23-cv-21691
 572    Kennedy-Roberts, Theresa                De La Rosa Law, P.A.               3:23-cv-21700
 573         Hemphili, Traci                    De La Rosa Law, P.A.               3:23-cv-21702
 574        Townsend, Trenna                    De La Rosa Law, P.A.               3:23-cv-21704
 575          Barker, Trudy                     De La Rosa Law, P.A.               3:23-cv-21723
 576           Faaoso, Uila                     De La Rosa Law, P.A.               3:23-cv-21724
 577         Leabo, Victoria                    De La Rosa Law, P.A.               3:23-cv-21726
 578       Kelly, Victoria Lynn                 De La Rosa Law, P.A.               3:23-cv-21731
 579         Arevalo, Zayda                     De La Rosa Law, P.A.               3:23-cv-21733
 580        Johnson, Christine                  De La Rosa Law, P.A.               3:23-cv-21756
 581         Felix, Alejandra                   De La Rosa Law, P.A.               3:23-cv-21873
 582         Casas, Amelyn                      De La Rosa Law, P.A.               3:23-cv-21875
 583         Anderson, Amy                      De La Rosa Law, P.A.               3:23-cv-21877
 584         Rodriguez, Anna                    De La Rosa Law, P.A.               3:23-cv-21879
 585         Robbins, Debra                     De La Rosa Law, P.A.               3:23-cv-21881
 586          Brisson, Silvia                   De La Rosa Law, P.A.               3:23-cv-21883
 587        Domingue, Audrey                    De La Rosa Law, P.A.               3:23-cv-21884
 588        Clinkscale, Debra                   De La Rosa Law, P.A.               3:23-cv-21885
 589          Attardi, Martha                   De La Rosa Law, P.A.               3:23-cv-21886
 590          Flores, Eliasar                   De La Rosa Law, P.A.               3:23-cv-21892
 591          Herring, Mary                     De La Rosa Law, P.A.               3:23-cv-21894
 592           Bibi, Batool                     De La Rosa Law, P.A.               3:23-cv-21895
 593      Cooper, Emma Carole                   De La Rosa Law, P.A.               3:23-cv-21896
 594         Merenda, Maria                     De La Rosa Law, P.A.               3:23-cv-21897
 595          Keech, Janice                     De La Rosa Law, P.A.               3:23-cv-21898
 596       Hector-Zepeda, Toni                  De La Rosa Law, P.A.               3:23-cv-21899
 597        Brownlow, Ethel L.                  De La Rosa Law, P.A.               3:23-cv-21900
 598          Swingle, Eve                      De La Rosa Law, P.A.               3:23-cv-21901




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Row #         Case Name                         Plaintiff Firm(s)               Current Cause #
 599      Ballou, Linda Polidore              De La Rosa Law, P.A.               3:23-cv-21902
 600      Weldon, Tonya Marie                 De La Rosa Law, P.A.               3:23-cv-21903
 601      Weldon, Tonya Marie                 De La Rosa Law, P.A.               3:23-cv-21906
 602           Wells, Mary                    De La Rosa Law, P.A.               3:23-cv-21908
 603          Jones, Vicky                    De La Rosa Law, P.A.               3:23-cv-21909
 604      Skidmore, Janice Lee                De La Rosa Law, P.A.               3:23-cv-21910
 605            Hill, Betty                   De La Rosa Law, P.A.               3:23-cv-21911
 606          Baker, Linda                    De La Rosa Law, P.A.               3:23-cv-21913
 607          Purvis, Gatha                   De La Rosa Law, P.A.               3:23-cv-21914
 608        Kennedy, Victoria                 De La Rosa Law, P.A.               3:23-cv-21915
 609         Love, Georgia                    De La Rosa Law, P.A.               3:23-cv-21916
 610           Soliz, Janie                   De La Rosa Law, P.A.               3:23-cv-21917
 611      Fodor, Leslie Theresa               De La Rosa Law, P.A.               3:23-cv-21918
 612           Truong, Vy                     De La Rosa Law, P.A.               3:23-cv-21919
 613       Bayne, Ginger Lea                  De La Rosa Law, P.A.               3:23-cv-21920
 614           Ring, Lark                     De La Rosa Law, P.A.               3:23-cv-21921
 615        Patria, Jeannine                  De La Rosa Law, P.A.               3:23-cv-21922
 616       Sendgraff, Michelle                De La Rosa Law, P.A.               3:23-cv-21923
 617          Hood, Gloria                    De La Rosa Law, P.A.               3:23-cv-21924
 618           Hirt, Carol                    De La Rosa Law, P.A.               3:23-cv-21925
 619          Valley, Kristin                 De La Rosa Law, P.A.               3:23-cv-21926
 620          Ford, Grace                     De La Rosa Law, P.A.               3:23-cv-21927
 621         Fritz, Gwanda                    De La Rosa Law, P.A.               3:23-cv-21929
 622        Vincent, Glenda                   De La Rosa Law, P.A.               3:23-cv-21930
 623          Oneal, Kathy                    De La Rosa Law, P.A.               3:23-cv-21931
 624         Dodson, Nancy                    De La Rosa Law, P.A.               3:23-cv-21932
 625         Perales, Helen                   De La Rosa Law, P.A.               3:23-cv-21933
 626         Gallas, Joanne                   De La Rosa Law, P.A.               3:23-cv-21935
 627           Auld, Karla                    De La Rosa Law, P.A.               3:23-cv-21936
 628          Hawtin, Janet                   De La Rosa Law, P.A.               3:23-cv-21938
 629           Jones, Inez                    De La Rosa Law, P.A.               3:23-cv-21939
 630     Borton, Kathleen Louise              De La Rosa Law, P.A.               3:23-cv-21940
 631     Steadham, Nevada Gay                 De La Rosa Law, P.A.               3:23-cv-21941
 632          Hawtin, Janet                   De La Rosa Law, P.A.               3:23-cv-21944
 633          Komac, Pam                      De La Rosa Law, P.A.               3:23-cv-21947
 634       Pladdys, Kathleen                  De La Rosa Law, P.A.               3:23-cv-21948
 635           Oak, Julie                     De La Rosa Law, P.A.               3:23-cv-21949
 636         Mishler, Brenda                  De La Rosa Law, P.A.               3:23-cv-21951
 637        Hutteman, Carole                  De La Rosa Law, P.A.               3:23-cv-21961
 638      Hopkins, Jacqueline                 De La Rosa Law, P.A.               3:23-cv-21962
 639         Savage, Chyrel                   De La Rosa Law, P.A.               3:23-cv-21966
 640       Bachman, Pamela                    De La Rosa Law, P.A.               3:23-cv-21967
 641       Pearson, Saundra                   De La Rosa Law, P.A.               3:23-cv-21968
 642          Allen, Jamila                   De La Rosa Law, P.A.               3:23-cv-21969
 643        McQuaig, Sarah                    De La Rosa Law, P.A.               3:23-cv-21970
 644        Norman, Patricia                  De La Rosa Law, P.A.               3:23-cv-21971




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 645        Lavash, Daphne                     De La Rosa Law, P.A.               3:23-cv-21973
 646        Wooden, Sandra                     De La Rosa Law, P.A.               3:23-cv-21977
 647          Boyd, Darcy                      De La Rosa Law, P.A.               3:23-cv-21980
 648        Skidgell, Darlene                  De La Rosa Law, P.A.               3:23-cv-21982
 649     Shaffer-Gordon, Patricia              De La Rosa Law, P.A.               3:23-cv-21985
 650       Homschek, Darlene                   De La Rosa Law, P.A.               3:23-cv-21987
 651      Helton, Penny Lenea                  De La Rosa Law, P.A.               3:23-cv-21988
 652     Lucas, Rebecca Fayee                  De La Rosa Law, P.A.               3:23-cv-21991
 653         Keith, Deborah                    De La Rosa Law, P.A.               3:23-cv-21992
 654        Rudolph, Robert                    De La Rosa Law, P.A.               3:23-cv-21996
 655    Kindred, Deborah Suzanne               De La Rosa Law, P.A.               3:23-cv-21998
 656         Villa, Rebecca                    De La Rosa Law, P.A.               3:23-cv-21999
 657           Incitti, Linda                  De La Rosa Law, P.A.               3:23-cv-22001
 658      Bittner, Melissa Marie               De La Rosa Law, P.A.               3:23-cv-22002
 659          Miranda, Kerri                   De La Rosa Law, P.A.               3:23-cv-22004
 660        Coleman, Donna                     De La Rosa Law, P.A.               3:23-cv-22011
 661          Mooney, Beth                     De La Rosa Law, P.A.               3:23-cv-22012
 662        Rudolph, Donna                     De La Rosa Law, P.A.               3:23-cv-22013
 663          Luzzi, Martha                    De La Rosa Law, P.A.               3:23-cv-22016
 664         McGrath, Karen                    De La Rosa Law, P.A.               3:23-cv-22020
 665     Weichselbaumer, Gisela                De La Rosa Law, P.A.               3:23-cv-22022
 666          Mooney, Beth                     De La Rosa Law, P.A.               3:23-cv-22023
 667         Sudol, Patricia                   De La Rosa Law, P.A.               3:23-cv-22024
 668          Hawtin, Janet                    De La Rosa Law, P.A.               3:23-cv-22025
 669           Hall, Janet                     De La Rosa Law, P.A.               3:23-cv-22026
 670         Tarnow, Nancy                     De La Rosa Law, P.A.               3:23-cv-22027
 671         Carter, Kaelyn                    De La Rosa Law, P.A.               3:23-cv-22029
 672          Rios, Kathie                     De La Rosa Law, P.A.               3:23-cv-22030
 673            Hirt, Carol                    De La Rosa Law, P.A.               3:23-cv-22031
 674        Kelley, Kathleen                   De La Rosa Law, P.A.               3:23-cv-22033
 675            Hirt, Carol                    De La Rosa Law, P.A.               3:23-cv-22034
 676         Mccarthur, Lynn                   De La Rosa Law, P.A.               3:23-cv-22038
 677        Pladdys, Kathleen                  De La Rosa Law, P.A.               3:23-cv-22040
 678         McDaniel, Linda                   De La Rosa Law, P.A.               3:23-cv-22043
 679          Miranda, Kerri                   De La Rosa Law, P.A.               3:23-cv-22044
 680           Hull, Lenora                    De La Rosa Law, P.A.               3:23-cv-22047
 681           Incitti, Linda                  De La Rosa Law, P.A.               3:23-cv-22048
 682         Stoia, Concetta                   De La Rosa Law, P.A.               3:23-cv-22049
 683         Stoia, Concetta                   De La Rosa Law, P.A.               3:23-cv-22050
 684           Lux, Debbie                     De La Rosa Law, P.A.               3:23-cv-22051
 685          Ybarra, Leslie                   De La Rosa Law, P.A.               3:23-cv-22052
 686        Fleeson, Tammy                     De La Rosa Law, P.A.               3:23-cv-22055
 687         Celik, Theresa                    De La Rosa Law, P.A.               3:23-cv-22056
 688          Herron, Phillis                  De La Rosa Law, P.A.               3:23-cv-22057
 689         George, Randie                    De La Rosa Law, P.A.               3:23-cv-22058
 690        Kevern, Barbara                    De La Rosa Law, P.A.               3:23-cv-22069




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Row #             Case Name                               Plaintiff Firm(s)               Current Cause #
 691              Sprague, Joy                          De La Rosa Law, P.A.               3:23-cv-22070
 692             Batista, Pedro                         De La Rosa Law, P.A.               3:23-cv-22071
 693           Anderson, Charlie                        De La Rosa Law, P.A.               3:23-cv-22072
 694           Hudson, Rheaann                          De La Rosa Law, P.A.               3:23-cv-22073
 695            Hudson, Miranda                         De La Rosa Law, P.A.               3:23-cv-22074
 696              Wells, Diane                          De La Rosa Law, P.A.               3:23-cv-22076
 697              Marks, Jacki                          De La Rosa Law, P.A.               3:23-cv-22077
 698             Zaidman, Steve                         De La Rosa Law, P.A.               3:23-cv-22079
 699             Launius, Linda                         De La Rosa Law, P.A.               3:23-cv-22133
 700    Seasack Pile, Eleanor Jacqueline                De La Rosa Law, P.A.               3:23-cv-22134
 701           Ehresmann, Joann                         De La Rosa Law, P.A.               3:23-cv-22135
 702           Knight, Jacqueline                       De La Rosa Law, P.A.               3:23-cv-22136
 703               Tobin, June                          De La Rosa Law, P.A.               3:23-cv-22137
 704         Fuentes, Cynthia Anna                      De La Rosa Law, P.A.               3:23-cv-22138
 705             Davis, Pamela                          De La Rosa Law, P.A.               3:23-cv-22140
 706            Roberts, Zenaida                        De La Rosa Law, P.A.               3:23-cv-22141
 707           Phillips, Mary Jane                      De La Rosa Law, P.A.               3:23-cv-22143
 708             Asher, Connie                          De La Rosa Law, P.A.               3:23-cv-22144
 709             Brannen, Irma                          De La Rosa Law, P.A.               3:23-cv-22147
 710            Escobedo, Letha                         De La Rosa Law, P.A.               3:23-cv-22148
 711             Dupuis, Jeanne                         De La Rosa Law, P.A.               3:23-cv-22149
 712                Hall, Lee                           De La Rosa Law, P.A.               3:23-cv-22150
 713    Feliciano Rivera, Sheilah Cristina              De La Rosa Law, P.A.               3:23-cv-22152
 714            Milliken, Patricia                      De La Rosa Law, P.A.               3:23-cv-22153
 715           Setterlund, Danelle                      De La Rosa Law, P.A.               3:23-cv-22154
 716           Fuhrmann, Barbara                        De La Rosa Law, P.A.               3:23-cv-22155
 717              Pecora, Lisa                          De La Rosa Law, P.A.               3:23-cv-22166
 718             James, Emmit                           De La Rosa Law, P.A.               3:23-cv-22167
 719            Olenick, Virginia                       De La Rosa Law, P.A.               3:23-cv-22169
 720               Hurst, Ethel                         De La Rosa Law, P.A.               3:23-cv-22170
 721            Moore, Gertrude                         De La Rosa Law, P.A.               3:23-cv-22171
 722             Jennings, Mary                         De La Rosa Law, P.A.               3:23-cv-22172
 723           Willis, Traci Lynette                    De La Rosa Law, P.A.               3:23-cv-22173
 724               Liu, Guiying                         De La Rosa Law, P.A.               3:23-cv-22175
 725              Gaona, Juan                           De La Rosa Law, P.A.               3:23-cv-22177
 726            Glidden, Murray                         De La Rosa Law, P.A.               3:23-cv-22178
 727              Dunn, Annie                           De La Rosa Law, P.A.               3:23-cv-22179
 728              Hefke, Linda                          De La Rosa Law, P.A.               3:23-cv-22180
 729            Clinkscale, Debra                       De La Rosa Law, P.A.               3:23-cv-22181
 730             Schmeling, Pat                         De La Rosa Law, P.A.               3:23-cv-22182
 731        Maxwell-Certain, Tracie                     De La Rosa Law, P.A.               3:23-cv-22183
 732              Glass, Keith                          De La Rosa Law, P.A.               3:23-cv-22185
 733        Fernandez, Daphne Ann                       De La Rosa Law, P.A.               3:23-cv-22186
 734             Barrera, Pedro                         De La Rosa Law, P.A.               3:23-cv-22187
 735             Agee, Tykisha                          De La Rosa Law, P.A.               3:23-cv-22188
 736           Amesquita, Diana                         De La Rosa Law, P.A.               3:23-cv-22189




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 737         Stack, Richard                  De La Rosa Law, P.A.               3:23-cv-22191
 738        Schlueter, Diana                 De La Rosa Law, P.A.               3:23-cv-22195
 739          Call, Jeanna                   De La Rosa Law, P.A.               3:23-cv-22197
 740          Ackley, Carol                  De La Rosa Law, P.A.               3:23-cv-22225
 741          Lee, Sharon                    De La Rosa Law, P.A.               3:23-cv-22226
 742         Cowart, Margie                  De La Rosa Law, P.A.               3:23-cv-22227
 743          Seals, Jenni                   De La Rosa Law, P.A.               3:23-cv-22228
 744        Gingras, Doreen                  De La Rosa Law, P.A.               3:23-cv-22229
 745          Mcfall, Karen                  De La Rosa Law, P.A.               3:23-cv-22232
 746         Kenol, Patricia                 De La Rosa Law, P.A.               3:23-cv-22233
 747        Graham, Sharyn                   De La Rosa Law, P.A.               3:23-cv-22234
 748        Murrell, Patsy Ann               De La Rosa Law, P.A.               3:23-cv-22236
 749           Caez, Kayla                   De La Rosa Law, P.A.               3:23-cv-22237
 750         Macleod, Honey                  De La Rosa Law, P.A.               3:23-cv-22239
 751           Trish, Janet                  De La Rosa Law, P.A.               3:23-cv-22241
 752          Pierson, Kelly                 De La Rosa Law, P.A.               3:23-cv-22242
 753       Lambert, Hortencia                De La Rosa Law, P.A.               3:23-cv-22243
 754     Barnes, Rhonda Rushton              De La Rosa Law, P.A.               3:23-cv-22245
 755         Sylvester, Tikira               De La Rosa Law, P.A.               3:23-cv-22246
 756           Vest, Laura                   De La Rosa Law, P.A.               3:23-cv-22247
 757        Tice, Valina Lynn                De La Rosa Law, P.A.               3:23-cv-22248
 758     Posey, Saundra Kennedy              De La Rosa Law, P.A.               3:23-cv-22249
 759     Hardcastle-Smith, Leah              De La Rosa Law, P.A.               3:23-cv-22250
 760          Braziel, Toni                  De La Rosa Law, P.A.               3:23-cv-22251
 761        Price, Linda Kay                 De La Rosa Law, P.A.               3:23-cv-22254
 762        Sipowicz, Sharon                 De La Rosa Law, P.A.               3:23-cv-22255
 763          Woods, Laura                   De La Rosa Law, P.A.               3:23-cv-22274
 764         Winburn, Terry                  De La Rosa Law, P.A.               3:23-cv-22275
 765         Taylor, Corrine                 De La Rosa Law, P.A.               3:23-cv-22276
 766         Petkovich, Doris                De La Rosa Law, P.A.               3:23-cv-22277
 767         Komac, Pamela                   De La Rosa Law, P.A.               3:23-cv-22278
 768        Houston, Sammy                   De La Rosa Law, P.A.               3:23-cv-22279
 769        Mcgilbray, Lasue                 De La Rosa Law, P.A.               3:23-cv-22280
 770          Hall, Deborah                  De La Rosa Law, P.A.               3:23-cv-22281
 771           Trish, Janet                  De La Rosa Law, P.A.               3:23-cv-22283
 772         Johnson, Adrian                 De La Rosa Law, P.A.               3:23-cv-22284
 773         Williams, Janise                De La Rosa Law, P.A.               3:23-cv-22285
 774         Branham, Judy                   De La Rosa Law, P.A.               3:23-cv-22286
 775         Allen, Roxanna                  De La Rosa Law, P.A.               3:23-cv-22287
 776         Bryant, Daphne                  De La Rosa Law, P.A.               3:23-cv-22288
 777         Sachs, Steven                    Dell & Dean PLLC                  3:19-cv-20226
 778         Gigliotti, Jason                Dolce Panepinto, P.C.              3:19-cv-05857
 779         Ateek, Shirley A                Dorothy V. Maier, PA               3:18-cv-11241
 780         Dalton, Glenda                   Driscoll Firm, P.C.               3:19-cv-12028
 781         Fuhrman, Chris                   Driscoll Firm, P.C.               3:19-cv-12664
 782          Bailey, James                   Driscoll Firm, P.C.               3:19-cv-12666




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 783         DeLucia, Keli                       Driscoll Firm, P.C.                        3:19-cv-12667
 784         Potts, Sarah                        Driscoll Firm, P.C.                        3:19-cv-12670
 785          Field, Ellen                       Driscoll Firm, P.C.                        3:19-cv-12672
 786       Cushenberry, Kay                      Driscoll Firm, P.C.                        3:19-cv-12673
 787       Leonardi, Randi                       Driscoll Firm, P.C.                        3:19-cv-13133
 788         Ginet, Ciera                        Driscoll Firm, P.C.                        3:19-cv-13256
 789        Wosenu, Aster                        Driscoll Firm, P.C.                        3:19-cv-17527
 790      Noel-Barrs, Rosena                     Driscoll Firm, P.C.                        3:19-cv-18562
 791         Taylor, Ollie                       Driscoll Firm, P.C.                        3:19-cv-18614
 792         Lon, Barbara                        Driscoll Firm, P.C.                        3:19-cv-18623
 793        Cohen, Sheila                        Driscoll Firm, P.C.                        3:19-cv-19306
 794       Simon, Danielle                       Driscoll Firm, P.C.                        3:19-cv-22047
 795       Lipford, Beatrice                     Driscoll Firm, P.C.                        3:19-cv-22049
 796          Brieno, Pat                        Driscoll Firm, P.C.                        3:19-cv-22051
 797       Holder, Veronica                      Driscoll Firm, P.C.                        3:19-cv-22057
 798      Malbrough, Sandra                      Driscoll Firm, P.C.                        3:19-cv-22058
 799         Porter, Nellie                      Driscoll Firm, P.C.                        3:19-cv-22059
 800        Blakes, Roger                        Driscoll Firm, P.C.                        3:19-cv-22060
 801        Bolender, Mary                       Driscoll Firm, P.C.                        3:19-cv-22072
 802      McKenzie, Qmetee                       Driscoll Firm, P.C.                        3:19-cv-22074
 803       Johnson, Susan                        Driscoll Firm, P.C.                        3:19-cv-22077
 804          Blair, Otina                       Driscoll Firm, P.C.                        3:19-cv-22079
 805       Shaw, ReNarda                         Driscoll Firm, P.C.                        3:19-cv-22156
 806         Hood, Donna                         Driscoll Firm, P.C.                        3:19-cv-22158
 807          Lilly, Anita                       Driscoll Firm, P.C.                        3:19-cv-22160
 808         Roy, Debra                          Driscoll Firm, P.C.                        3:19-cv-22161
 809         Martin, Mary                        Driscoll Firm, P.C.                        3:19-cv-22166
 810        Block, Rhonda                        Driscoll Firm, P.C.                        3:19-cv-22171
 811        Dixon, Marsha                        Driscoll Firm, P.C.                        3:19-cv-22173
 812         Wyatt, Robin                        Driscoll Firm, P.C.                        3:19-cv-22175
 813       Williams, Sherita                     Driscoll Firm, P.C.                        3:19-cv-22179
 814       Burger, Dorothy                       Driscoll Firm, P.C.                        3:19-cv-22185
 815         Reed, Anita                         Driscoll Firm, P.C.                        3:23-cv-17887
 816       Hendricks, Roger                      Driscoll Firm, P.C.                        3:23-cv-19358
 817       Truman, Shirley                       Driscoll Firm, P.C.                        3:23-cv-19851
 818       Welsh, Rebecca                        Driscoll Firm, P.C.                        3:23-cv-19857
 819         Young, Joan                         Driscoll Firm, P.C.                        3:23-cv-19858
 820        Malott, Lauren                      Duerring Law Offices                        3:19-cv-11756
 821         Blake, Krysta     Edlund, Gallagher, Haslam, McCall, Wolf & Wooten, PLLC       3:18-cv-13185
 822         Butler, Tonya     Edlund, Gallagher, Haslam, McCall, Wolf & Wooten, PLLC       3:18-cv-13205
 823        Rash, Marjorie     Edlund, Gallagher, Haslam, McCall, Wolf & Wooten, PLLC       3:18-cv-13679
 824         Criso, Irene             Eichen, Crutchlow, Zaslow & McElroy, LLP              3:18-cv-00533
 825        Noble, George             Eichen, Crutchlow, Zaslow & McElroy, LLP              3:18-cv-17223
 826        Bishop, Imelda            Eichen, Crutchlow, Zaslow & McElroy, LLP              3:18-cv-17395
 827       Mervine, Bonnie               EISENBERG GILCHRIST & CUTT                         3:19-cv-08844
 828        O'Hara, Nancy                 EISENBERG GILCHRIST & CUTT                        3:19-cv-08849




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 829           Norris, Lisa                EISENBERG GILCHRIST & CUTT                         3:19-cv-08854
 830          Haly, Patricia               EISENBERG GILCHRIST & CUTT                         3:19-cv-08856
 831          Wade, Linda                  EISENBERG GILCHRIST & CUTT                         3:19-cv-08859
 832        Harron, Tamara        Eisenberg, Rothweiler, Winkler Eisenberg & Jeck, P.C.       3:19-cv-12458
 833          Gran, Lewis         Eisenberg, Rothweiler, Winkler Eisenberg & Jeck, P.C.       3:19-cv-16998
 834           Long, Lisa         Eisenberg, Rothweiler, Winkler Eisenberg & Jeck, P.C.       3:19-cv-21374
 835          Smith, Gloria                     Fitzgerald Law Group, LLC                     3:18-cv-13989
 836        Traynor, Marlene                    Fitzgerald Law Group, LLC                     3:18-cv-14492
 837       Cheatham, Donald                     Fleming, Nolen & Jez, LLP                     3:19-cv-08112
 838       Cosby, Cassandra                     Fleming, Nolen & Jez, LLP                     3:19-cv-08129
 839       Gurda, Jeanne Ann                    Fleming, Nolen & Jez, LLP                     3:19-cv-12251
 840        Ochoa, Roberta                      Fleming, Nolen & Jez, LLP                     3:19-cv-12495
 841        Pasquale, Susan                     Fleming, Nolen & Jez, LLP                     3:19-cv-12522
 842         Sapp, Miranda                        Fletcher V. Trammell                        3:19-cv-10197
 843         White, Monica                        Fletcher V. Trammell                        3:19-cv-10201
 844       Whiteside, Rolanda                     Fletcher V. Trammell                        3:19-cv-10204
 845       Godwin, Frankiettia                    Fletcher V. Trammell                        3:19-cv-10207
 846         Velez, Theresa                       Fletcher V. Trammell                        3:19-cv-13013
 847          Desselle, Pia                       Fletcher V. Trammell                        3:19-cv-13027
 848       Gonzalez, Patricia                     Fletcher V. Trammell                        3:19-cv-13531
 849         Fletcher, Peter                      Fletcher V. Trammell                        3:19-cv-13533
 850        Saccardo, Laura                       Fletcher V. Trammell                        3:19-cv-13539
 851         Burnsed, Birgit                      Fletcher V. Trammell                        3:19-cv-13544
 852        Perkins, Sharon                       Fletcher V. Trammell                        3:19-cv-13960
 853         Wallace, Janna                       Fletcher V. Trammell                        3:19-cv-14102
 854         Harris, Cynthia                      Fletcher V. Trammell                        3:19-cv-14109
 855        Armstrong, Mary                       Fletcher V. Trammell                        3:19-cv-14361
 856        Bedford, Darlene                      Fletcher V. Trammell                        3:19-cv-14368
 857       Branch, Cassondra                      Fletcher V. Trammell                        3:19-cv-14371
 858          Burks, Nancy                        Fletcher V. Trammell                        3:19-cv-14385
 859        Carnes, Christina                     Fletcher V. Trammell                        3:19-cv-14386
 860         Bailey, Angela                       Fletcher V. Trammell                        3:19-cv-14462
 861         Childers, Joni                       Fletcher V. Trammell                        3:19-cv-14463
 862         Creamer, Misty                       Fletcher V. Trammell                        3:19-cv-14472
 863          Cruse, Lindsi                       Fletcher V. Trammell                        3:19-cv-14476
 864        Dickerson, Misty                      Fletcher V. Trammell                        3:19-cv-14488
 865       Nordlund, Elizabeth                    Fletcher V. Trammell                        3:19-cv-14524
 866        Hunter, Natasha                       Fletcher V. Trammell                        3:19-cv-14525
 867         Rutledge, Billie                     Fletcher V. Trammell                        3:19-cv-14527
 868          King, Dianna                        Fletcher V. Trammell                        3:19-cv-14530
 869         Rogers, Carrie                       Fletcher V. Trammell                        3:19-cv-14531
 870           Noe, Billie                        Fletcher V. Trammell                        3:19-cv-14538
 871        Coleman, Martha                       Fletcher V. Trammell                        3:19-cv-14545
 872        Dixon, Courtney                       Fletcher V. Trammell                        3:19-cv-14546
 873      Young-Horner, Stacey                    Fletcher V. Trammell                        3:19-cv-14547
 874         Doyle, Donna                         Fletcher V. Trammell                        3:19-cv-14556




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 875        Hardy, Jenavisa                 Fletcher V. Trammell               3:19-cv-14562
 876        McGhee, Bambi                   Fletcher V. Trammell               3:19-cv-14563
 877        Mims, Angelica                  Fletcher V. Trammell               3:19-cv-14564
 878        Green, Tyronza                  Fletcher V. Trammell               3:19-cv-14567
 879         Torres, Luisa                  Fletcher V. Trammell               3:19-cv-14570
 880         Hicks, Crystal                 Fletcher V. Trammell               3:19-cv-14571
 881      Ehrnsberger, Russell              Fletcher V. Trammell               3:19-cv-14576
 882       Hemphill, Latrissa               Fletcher V. Trammell               3:19-cv-14581
 883          Ribken, Tina                  Fletcher V. Trammell               3:19-cv-14583
 884        Krupp Jr., Julius               Fletcher V. Trammell               3:19-cv-14585
 885         Sarah, Kathy                   Fletcher V. Trammell               3:19-cv-14586
 886       Ingram, Kimberly                 Fletcher V. Trammell               3:19-cv-14587
 887        Martinez, Marry                 Fletcher V. Trammell               3:19-cv-14614
 888       Lindsey, Melinda                 Fletcher V. Trammell               3:19-cv-14623
 889        Jackson, Jesse                  Fletcher V. Trammell               3:19-cv-14624
 890       Lewis, Josephine                 Fletcher V. Trammell               3:19-cv-15005
 891        Milliner, Joakima               Fletcher V. Trammell               3:19-cv-16440
 892       Greenwell, Kathy                 Fletcher V. Trammell               3:19-cv-16441
 893       Williams, Jeremiah               Fletcher V. Trammell               3:19-cv-16442
 894          Ford, Tiffany                 Fletcher V. Trammell               3:19-cv-16443
 895        Hughes, Emily J                 Fletcher V. Trammell               3:19-cv-16445
 896          Lynn, Randy                   Fletcher V. Trammell               3:19-cv-16479
 897         Ulrich, Valerie                Fletcher V. Trammell               3:19-cv-16682
 898      Palmerton, Elizabeth              Fletcher V. Trammell               3:19-cv-17717
 899        Newton, Stacey                  Fletcher V. Trammell               3:19-cv-17718
 900        Forbes, George                  Fletcher V. Trammell               3:19-cv-17720
 901        Temple, Jeaneta                 Fletcher V. Trammell               3:19-cv-17722
 902       Rabalais, Tahnee                 Fletcher V. Trammell               3:19-cv-17822
 903        Lewis, Tammie                   Fletcher V. Trammell               3:19-cv-19950
 904         Lange, Linda                   Fletcher V. Trammell               3:19-cv-19952
 905         Levy, Beaulah                  Fletcher V. Trammell               3:19-cv-20558
 906         Lout, Cynthia                  Fletcher V. Trammell               3:19-cv-20560
 907         Hirsch, Tebra                  Fletcher V. Trammell               3:19-cv-20735
 908        Nicholson, Cyril                Fletcher V. Trammell               3:19-cv-20747
 909        Harris, Carolyn                 Fletcher V. Trammell               3:19-cv-20749
 910         Galaviz, Maria                 Fletcher V. Trammell               3:19-cv-21150
 911         Mennor, Terri                  Fletcher V. Trammell               3:19-cv-21311
 912        Clemons, Paula                  Fletcher V. Trammell               3:19-cv-21313
 913         Ayres, Robert                  Fletcher V. Trammell               3:19-cv-21459
 914          Mullins, Lora                 Fletcher V. Trammell               3:19-cv-21515
 915      Capo, Melissa Perez               Fletcher V. Trammell               3:19-cv-21587
 916        Harmon, Helda                   Fletcher V. Trammell               3:19-cv-21593
 917          Perks, Lillian                Fletcher V. Trammell               3:19-cv-21702
 918           Short, Lois                  Fletcher V. Trammell               3:19-cv-21703
 919        Fishman, Allison                Fletcher V. Trammell               3:19-cv-21705
 920      Patterson, Samantha               Fletcher V. Trammell               3:19-cv-21730




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 921           Keller, Shelby                        Fletcher V. Trammell                     3:19-cv-21777
 922          Cooper, Amanda                         Fletcher V. Trammell                     3:19-cv-21778
 923         Hochleutner, Mark                       Fletcher V. Trammell                     3:19-cv-22150
 924          Klingforth, Gary                       Fletcher V. Trammell                     3:19-cv-22187
 925           Garcia, Elisa             Fletcher V. Trammell // Williams Hart Law Firm       3:19-cv-19122
 926      Summers, William Keith                        Frazer Law LLC                        3:18-cv-08149
 927         Chisholm, Brianna                          Frazer Law LLC                        3:18-cv-13412
 928           Morgan, Teala                              Frazer PLC                          3:23-cv-19925
 929          Denny, Gladdys                              Frazer PLC                          3:23-cv-19932
 930          McDaniel, Tina                            Girardi & Keese                       3:18-cv-01383
 931             Allen, Kay                             Girardi & Keese                       3:18-cv-15539
 932           Blanks, Angel                            Girardi & Keese                       3:18-cv-15561
 933       Brennan-Jones, Cheryl                        Girardi & Keese                       3:18-cv-15567
 934           Brunty, Sarah                            Girardi & Keese                       3:18-cv-15569
 935         Chambliss, Linda                           Girardi & Keese                       3:18-cv-15578
 936           Cole, Mildred                            Girardi & Keese                       3:18-cv-15585
 937            Curry, Lisa                             Girardi & Keese                       3:18-cv-15591
 938           Gregory, Jon                             Girardi & Keese                       3:18-cv-15597
 939           Howard, Janet                            Girardi & Keese                       3:18-cv-15743
 940          Proctor, Chuck                            Girardi & Keese                       3:18-cv-15746
 941         Johnson, Deeann                            Girardi & Keese                       3:18-cv-15749
 942       Ramirez, Awelda Perez                        Girardi & Keese                       3:18-cv-15750
 943          Ravert, Chester                           Girardi & Keese                       3:18-cv-15751
 944           Ruge, Ronald                             Girardi & Keese                       3:18-cv-15753
 945          Shenton, Joseph                           Girardi & Keese                       3:18-cv-15754
 946           Sims, Ronald                             Girardi & Keese                       3:18-cv-15755
 947         Fredericks, Linda                          Girardi & Keese                       3:18-cv-15757
 948         Hammond, Denise                            Girardi & Keese                       3:18-cv-15771
 949            McLat, Jean                             Girardi & Keese                       3:18-cv-15784
 950           Green, Sandra                            Girardi & Keese                       3:18-cv-15789
 951        Montgomery, Joyce                           Girardi & Keese                       3:18-cv-15814
 952            Muniz, Elicia                           Girardi & Keese                       3:18-cv-15815
 953           Held, Patricia                           Girardi & Keese                       3:18-cv-15817
 954          Henry, Maureen                            Girardi & Keese                       3:18-cv-15820
 955          Pitcher, Deborah                          Girardi & Keese                       3:18-cv-15821
 956            Hill, Rhonda                            Girardi & Keese                       3:18-cv-15823
 957            Kelly, Grace                            Girardi & Keese                       3:18-cv-15827
 958          Lehmann, Betty                            Girardi & Keese                       3:18-cv-15857
 959          Martin, Rhonda                            Girardi & Keese                       3:18-cv-15869
 960           Mateo, Gladys                            Girardi & Keese                       3:18-cv-15877
 961    Maynard-Schoobaar, Gervaise                     Girardi & Keese                       3:18-cv-15881
 962          Terwilliger, Judy                         Girardi & Keese                       3:18-cv-16000
 963            Tovar, Marie                            Girardi & Keese                       3:18-cv-16001
 964          Vassar, Sharon                            Girardi & Keese                       3:18-cv-16002
 965           Seats, Brunice                           Girardi & Keese                       3:19-cv-00037
 966              Gill, Lisa             Goldenberg Heller Antognoli & Rowland, P.C.          3:19-cv-00272




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 967        Weber, Mary Ann                     Goldstein Greco PC                 3:19-cv-05595
 968         Arcuni, Phyllis                    Goldstein Greco PC                 3:23-cv-15863
 969         Fuqua, Stacey                      Goldstein Greco PC                 3:23-cv-15882
 970         Cellino, Michele                   Goldstein Greco PC                 3:23-cv-15912
 971         Ruggels, Carol                     Goldstein Greco PC                 3:23-cv-15933
 972       Danziger, Sheldon                    Goldstein Greco PC                 3:23-cv-15956
 973           Entz, Amy                        Goldstein Greco PC                 3:23-cv-15985
 974        Erhart, Joseph C.                   Goldstein Greco PC                 3:23-cv-15999
 975       Creveling, Frances                   Goldstein Greco PC                 3:23-cv-16016
 976           Ritter, Jerri                    Goldstein Greco PC                 3:23-cv-16041
 977        Kingsley, Joshua                    Goldstein Greco PC                 3:23-cv-16080
 978         Gudell, Michael                    Goldstein Greco PC                 3:23-cv-16104
 979         Myles, Pearlie                     Goldstein Greco PC                 3:23-cv-16120
 980         Jarmel, Warren                     Goldstein Greco PC                 3:23-cv-16132
 981         Lawrence, Lisa                     Goldstein Greco PC                 3:23-cv-16161
 982           Knauf, Alan                      Goldstein Greco PC                 3:23-cv-16176
 983        Bucholtz, Virginia                  Goldstein Greco PC                 3:23-cv-16217
 984        Laruccia, Jerome                    Goldstein Greco PC                 3:23-cv-16635
 985       Lonneville, Michael                  Goldstein Greco PC                 3:23-cv-16656
 986        Masterson, Gary                     Goldstein Greco PC                 3:23-cv-16672
 987        McCracken, Brian                    Goldstein Greco PC                 3:23-cv-16704
 988      Mccray-Gardner, Inez                  Goldstein Greco PC                 3:23-cv-16719
 989           Apap, Linda                      Goldstein Greco PC                 3:23-cv-16740
 990           Wong, Lisa                       Goldstein Greco PC                 3:23-cv-16760
 991         Farley, Alisann                    Goldstein Greco PC                 3:23-cv-16779
 992         Faicco, Lauren                     Goldstein Greco PC                 3:23-cv-16799
 993      Panepento, Shannon                    Goldstein Greco PC                 3:23-cv-16820
 994        Penndorf, Henry                     Goldstein Greco PC                 3:23-cv-16847
 995       Akinlawon, Valarie                   Goldstein Greco PC                 3:23-cv-16885
 996          Rivera, Libby                     Goldstein Greco PC                 3:23-cv-16903
 997      Rusmijati-Giobbe, Vivi                Goldstein Greco PC                 3:23-cv-16912
 998      Scolamiero, Michael                   Goldstein Greco PC                 3:23-cv-16931
 999         Seeman, Brad                       Goldstein Greco PC                 3:23-cv-16941
1000          Serwon, Mary                      Goldstein Greco PC                 3:23-cv-16953
1001        Stellabuto, Nikol                   Goldstein Greco PC                 3:23-cv-16966
1002         Stiegler, James                    Goldstein Greco PC                 3:23-cv-17476
1003           Weiss, Carl                      Goldstein Greco PC                 3:23-cv-17670
1004         Westfall, James                    Goldstein Greco PC                 3:23-cv-17717
1005        Karmel, Theresa                     Goldstein Greco PC                 3:23-cv-17743
1006         Zengerski, Jay                     Goldstein Greco PC                 3:23-cv-17790
1007       Michalski, Edward                    Goldstein Greco PC                 3:23-cv-17831
1008        Chapman, Susan                      Goldstein Greco PC                 3:23-cv-17896
1009        Schwantes, Julie                    Goldstein Greco PC                 3:23-cv-17934
1010         Pilcher, James                     Goldstein Greco PC                 3:23-cv-17954
1011        Mitchell, Roxanne                 Golomb Spirt Grunfeld PC             3:18-cv-09694
1012         Dennis, Charles                   Goza & Honnold, LLC                 3:18-cv-08061




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Row #          Case Name                                    Plaintiff Firm(s)                            Current Cause #
1013         Babauta, Joseph                             Goza & Honnold, LLC                              3:18-cv-11691
1014          Cramer, Dulsa                              Goza & Honnold, LLC                              3:19-cv-11819
1015          Henry, Mildred                             Goza & Honnold, LLC                              3:19-cv-12142
1016         Moodt, Pamela                               Goza & Honnold, LLC                              3:19-cv-12145
1017        Lathrop, Geraldine                           Goza & Honnold, LLC                              3:19-cv-12156
1018         Hannah, Shirley                             Goza & Honnold, LLC                              3:19-cv-12158
1019         Griffin, Amanda                             Goza & Honnold, LLC                              3:19-cv-12170
1020          Word, Crystal                             Graham P. Carner, PLLC                            3:18-cv-14353
1021        Lumpkins, Camille                            Heard Law Firm, PLLC                             3:18-cv-13415
1022       Milliren, Sandra Jean                          Helmsdale Law, LLP                              3:18-cv-12164
1023        Coston, Catherine                               Holland Law Firm                              3:18-cv-17079
1024         Saflor, Edgard S                               Holland Law Firm                              3:18-cv-17381
1025          Bolin, Angela                                 Holland Law Firm                              3:19-cv-14551
1026        McFarlin, Sabrina                               Holland Law Firm                              3:19-cv-20377
1027          Davis, Shirley                                Holland Law Firm                              3:19-cv-21030
1028        Marciniak, Celina                           Hurley McKenna & Mertz                            3:18-cv-16964
1029         Bryant, Timothy                            Hurley McKenna & Mertz                            3:19-cv-12051
1030           Allen, Ashley                              Keller Postman, LLC                             3:23-cv-18949
1031          Foster, Andrea                              Keller Postman, LLC                             3:23-cv-18971
1032          Lesney, Karen                               Keller Postman, LLC                             3:23-cv-18981
1033          Ming, Cynthia                               Keller Postman, LLC                             3:23-cv-19005
1034         Parker, Tanasha                              Keller Postman, LLC                             3:23-cv-19018
1035         Quesada, Twana                               Keller Postman, LLC                             3:23-cv-19034
1036        Trammell, Adrina                              Keller Postman, LLC                             3:23-cv-19056
1037         Lassiter, Brenda                             Keller Postman, LLC                             3:23-cv-19502
1038         Owens, Jasmine                         Kershaw, Cutter & Ratinoff, LLP                       3:23-cv-17309
1039          Marrache, Yvie                                Kiesel Law, LLP                               3:19-cv-14337
1040    Medina, Rosa Monica Serna                           Kiesel Law, LLP                               3:19-cv-21076
1041        Williams, Suzanna           Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ //                 3:19-cv-13438
                                                       Martinian & Associates, Inc.
1042         James, Rhonda              Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ //                 3:19-cv-14421
                                                       Martinian & Associates, Inc.
1043          Mitchell, Jane            Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ //                 3:19-cv-15425
                                                       Martinian & Associates, Inc.
1044    Sena-Hernandez, Christina       Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ //                 3:19-cv-16241
                                                       Martinian & Associates, Inc.
1045         Radbill, Natalie           Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ //                 3:19-cv-16389
                                                       Martinian & Associates, Inc.
1046           Moina, Janet             Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ //                 3:19-cv-17586
                                                       Martinian & Associates, Inc.
1047         Wallace, Panilla           Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ //                 3:19-cv-17589
                                                       Martinian & Associates, Inc.
1048         Worley, Dorothy            Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ //                 3:19-cv-17932
                                                       Martinian & Associates, Inc.
1049        Simmons, Tammy              Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ //                 3:19-cv-17939
                                                       Martinian & Associates, Inc.
1050        Whitehead, Amelia           Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ //                 3:19-cv-21318
                                                       Martinian & Associates, Inc.
1051         Perez, Sylvia G            Kiesel Law, LLP // LAW OFFICE OF HAYTHAM FARAJ //                 3:19-cv-21337
                                                       Martinian & Associates, Inc.
1052          Lafrance, Eula        Kiesel Law, LLP // Martinian & Associates, Inc. // The Law Offices    3:19-cv-06853
                                                            of Haytham Faraj




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1053            Wilburn, Mela           Kiesel Law, LLP // Martinian & Associates, Inc. // The Law Offices    3:19-cv-06857
                                                                of Haytham Faraj
1054           Mendoza, Maria           Kiesel Law, LLP // Martinian & Associates, Inc. // The Law Offices    3:19-cv-17533
                                                                of Haytham Faraj
1055            Vines, Teresa           Kiesel Law, LLP // Martinian & Associates, Inc. // The Law Offices    3:19-cv-17534
                                                                of Haytham Faraj
1056         Richardson, Valerie                            Kirtland & Packard, LLP                           3:23-cv-17123
1057            Owens, Lena                                   Kline & Specter, P.C.                           3:18-cv-08314
1058          Delman, Jacob A.                                Kline & Specter, P.C.                           3:18-cv-11797
1059           Daniel, Theresa                                Kline & Specter, P.C.                           3:18-cv-11798
1060        Vinciguerra, Susanna                              Kline & Specter, P.C.                           3:18-cv-13648
1061          Bramanti, Chelsea                               Kline & Specter, P.C.                           3:19-cv-09160
1062          Keeffe, Desiree D                               Kline & Specter, P.C.                           3:19-cv-11730
1063            Lacy, Kelly M                                 Kline & Specter, P.C.                           3:19-cv-19130
1064            Agasar, Mary                                  Kline & Specter, P.C.                           3:23-cv-18883
1065          Pedersen, Steve                                 Kline & Specter, P.C.                           3:23-cv-19302
1066      Brennan, Cassandra Sue                              Kline & Specter, P.C.                           3:23-cv-19303
1067          Brooks, Rosie P.                                Kline & Specter, P.C.                           3:23-cv-19320
1068           Fournier, Marc                                 Kline & Specter, P.C.                           3:23-cv-19323
1069          Douglas, Karen S                                Kline & Specter, P.C.                           3:23-cv-19350
1070            Garay, Aimee                                  Kline & Specter, P.C.                           3:23-cv-19360
1071         Grace, Catherine O.                              Kline & Specter, P.C.                           3:23-cv-19365
1072            Hanson, Fred                                  Kline & Specter, P.C.                           3:23-cv-19377
1073         Holibaugh, Kristine                              Kline & Specter, P.C.                           3:23-cv-19385
1074        Manganaro, Vivian S                               Kline & Specter, P.C.                           3:23-cv-19397
1075           Martin, Nelda T                                Kline & Specter, P.C.                           3:23-cv-19412
1076          Plantone, Tiffany                               Kline & Specter, P.C.                           3:23-cv-19417
1077            Martin, Linda                                 Kline & Specter, P.C.                           3:23-cv-19420
1078          Castellaneta, Ken                               Kline & Specter, P.C.                           3:23-cv-19450
1079    Reynolds, Gaynellaus Reynolds                         Kline & Specter, P.C.                           3:23-cv-19452
1080        Riegsecker, Lowell J.                             Kline & Specter, P.C.                           3:23-cv-19460
1081        Walker, II, Richard E.                            Kline & Specter, P.C.                           3:23-cv-19465
1082        Swaby-Smith, Julie G                              Kline & Specter, P.C.                           3:23-cv-19469
1083           Taylor, Edward                                 Kline & Specter, P.C.                           3:23-cv-19477
1084          Traylor, Antonette                              Kline & Specter, P.C.                           3:23-cv-19482
1085           White, Marlin E                                Kline & Specter, P.C.                           3:23-cv-19491
1086           Williams, Edith                                Kline & Specter, P.C.                           3:23-cv-19499
1087      Zambik-Simckowitz, Mary J                           Kline & Specter, P.C.                           3:23-cv-19504
1088             Lott, Steven                                 Kline & Specter, P.C.                           3:23-cv-19950
1089          Johnson, Karene                                 Kline & Specter, P.C.                           3:23-cv-19956
1090            Irving, Shelby                                Kline & Specter, P.C.                           3:23-cv-19958
1091          Shamsie, Candice                                Kline & Specter, P.C.                           3:23-cv-19962
1092           Moody, William                                 Kline & Specter, P.C.                           3:23-cv-19970
1093        Palmer-Watts, Carletta                            Kline & Specter, P.C.                           3:23-cv-19975
1094         Weiksner, Kenneth                                Kline & Specter, P.C.                           3:23-cv-19982
1095        Smith-Kurtbek, Dana                               Kline & Specter, P.C.                           3:23-cv-19988
1096            Bush, Agnes                                   Kline & Specter, P.C.                           3:23-cv-20045
1097           Callison, Doris                                Kline & Specter, P.C.                           3:23-cv-20055



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1098          Bailey, Hilda                    Kline & Specter, P.C.              3:23-cv-20056
1099        Brown, Darlene                     Kline & Specter, P.C.              3:23-cv-20059
1100        Frazier, Brenda                    Kline & Specter, P.C.              3:23-cv-20061
1101       Johnsen, Melissa                    Kline & Specter, P.C.              3:23-cv-20064
1102         O'hara, Allen                     Kline & Specter, P.C.              3:23-cv-20065
1103         Roberts, Cellie                   Kline & Specter, P.C.              3:23-cv-20088
1104         Rarick, Nancy                     Kline & Specter, P.C.              3:23-cv-20096
1105           Cole, Mary                      Kline & Specter, P.C.              3:23-cv-20109
1106         Bolton, Dianne                    Kline & Specter, P.C.              3:23-cv-20133
1107         Smith, Tracey                     Kline & Specter, P.C.              3:23-cv-20136
1108        Souza, Joanne                      Kline & Specter, P.C.              3:23-cv-20184
1109       Campbell, Tashia                    Kline & Specter, P.C.              3:23-cv-20192
1110      Gradington, Supapan                  Kline & Specter, P.C.              3:23-cv-20209
1111        Roman, Maritza                     Kline & Specter, P.C.              3:23-cv-20252
1112       Perriciene, Joann                   Kline & Specter, P.C.              3:23-cv-20274
1113        Nothaft, Robert                    Kline & Specter, P.C.              3:23-cv-20280
1114       Stewart, Alycefaye                  Kline & Specter, P.C.              3:23-cv-20283
1115       Polak, Cariamber                    Knapp & Roberts, P.C.              3:18-cv-12871
1116       Dockendorf, Maria            Law Office of Charles H Johnson, PA       3:19-cv-13624
1117      Tyson, Jacqueline M            Law Office of Paul H Bass, PLLC          3:19-cv-12229
1118        Rodriguez, Dora               Law Offices of Donald G. Norris         3:19-cv-05798
1119        Himler, Brenda                Law Offices of Donald G. Norris         3:19-cv-16146
1120         Marlow, Tina                 Law Offices of Donald G. Norris         3:23-cv-16957
1121       Fulmore, Michelle              Law Offices of Donald G. Norris         3:23-cv-16972
1122        Taylor, Michelle              Law Offices of Donald G. Norris         3:23-cv-16986
1123        Robertson, Keja               Law Offices of Donald G. Norris         3:23-cv-18404
1124         Alvarado, Ruth               Law Offices of Donald G. Norris         3:23-cv-19991
1125        Almquist, Donald              Law Offices of Donald G. Norris         3:23-cv-19995
1126       Patridge, Thomas               Law Offices of Donald G. Norris         3:23-cv-20040
1127          Avery, Olivia               Law Offices of Donald G. Norris         3:23-cv-20076
1128         Carver, Lynda                Law Offices of Donald G. Norris         3:23-cv-20186
1129         Dubon, Cindy                 Law Offices of Donald G. Norris         3:23-cv-20190
1130         Patton, Evelyn               Law Offices of Donald G. Norris         3:23-cv-20207
1131         Duran, Cergio                Law Offices of Donald G. Norris         3:23-cv-20355
1132           Allen, Kim                 Law Offices of Donald G. Norris         3:23-cv-20377
1133        Wilder, Veronica             Law Offices of James Scott Farrin        3:18-cv-05705
1134      Moore, Annie Louise                Lenze Kamerrer Moss, PLC             3:18-cv-09924
1135        Monroe, Pamela                   Lenze Kamerrer Moss, PLC             3:18-cv-13674
1136      Crimmins, Kathleen                 Lenze Kamerrer Moss, PLC             3:18-cv-15697
1137     Rosarioereyes, Pamela               Lenze Kamerrer Moss, PLC             3:19-cv-14099
1138        Olivas, Melanie                     Lenze Lawyers, PLC                3:19-cv-14163
1139      Collymore, Denique                    Lenze Lawyers, PLC                3:19-cv-19787
1140       King Sr., Nathaniel                  Lenze Lawyers, PLC                3:19-cv-19788
1141     Linquata, Jeanne Marie               Levin Simes Abrams LLP              3:23-cv-19229
1142         Curd, Barbara                    Levin Simes Abrams LLP              3:23-cv-19248
1143        Johnston, Linda                      Levin Simes LLP                  3:18-cv-02364




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1144      Keleher, Jospeh John                             Levin Simes LLP                              3:18-cv-02561
1145         Kelly, Geraldine                              Levin Simes LLP                              3:19-cv-08494
1146          Lee, Michelle                                Liakos Law APC                               3:23-cv-22008
1147           Labine, Jan                                 Liakos Law APC                               3:23-cv-22092
1148         Matson, Helen                                 Liakos Law APC                               3:23-cv-22097
1149          Duncan, Jane                                 Liakos Law APC                               3:23-cv-22099
1150         Kass, Mary Ann                              Ludwig Law Firm, PLC                           3:23-cv-17828
1151        Stockenauer, Codi                            Ludwig Law Firm, PLC                           3:23-cv-17956
1152         Smith, Maklisha                            Ludwig Law Firm, PLC                            3:23-cv-18021
1153        Renfroe, Shonna                              Ludwig Law Firm, PLC                           3:23-cv-18038
1154         Butler, Rebecca                             Ludwig Law Firm, PLC                           3:23-cv-18131
1155         Harper, Debrah                              Ludwig Law Firm, PLC                           3:23-cv-18149
1156         Cesar, Karinna                              Ludwig Law Firm, PLC                           3:23-cv-18210
1157         Bailey, Kimberly                            Ludwig Law Firm, PLC                           3:23-cv-18233
1158        Melnyk, Concetta                             Ludwig Law Firm, PLC                           3:23-cv-18275
1159          Kubik, Amber                               Ludwig Law Firm, PLC                           3:23-cv-18290
1160     Wagner-Chaffee, Wendy                           Ludwig Law Firm, PLC                           3:23-cv-18302
1161        Steward, Donesha                             Ludwig Law Firm, PLC                           3:23-cv-18501
1162        Walters, Dorothy                             Ludwig Law Firm, PLC                           3:23-cv-18639
1163       Harrison, Moquicha                            Ludwig Law Firm, PLC                           3:23-cv-18673
1164         McCraney, John                              Ludwig Law Firm, PLC                           3:23-cv-20301
1165          Mahan, Larry                               Ludwig Law Firm, PLC                           3:23-cv-20304
1166         Chance, Marsha                              Ludwig Law Firm, PLC                           3:23-cv-20306
1167         Mixon, Tammie                               Ludwig Law Firm, PLC                           3:23-cv-20368
1168        Cantrell, Charles                            Ludwig Law Firm, PLC                           3:23-cv-20481
1169       Lindstrom, Candice                            Ludwig Law Firm, PLC                           3:23-cv-20482
1170      Summerville, Precious                          Ludwig Law Firm, PLC                           3:23-cv-20484
1171    Hampton, Caritha Robinson                        Ludwig Law Firm, PLC                           3:23-cv-20487
1172            Smith, Hal                               Ludwig Law Firm, PLC                           3:23-cv-20489
1173        Johnson, Jerome                              Ludwig Law Firm, PLC                           3:23-cv-20492
1174         Nowlin, James                               Ludwig Law Firm, PLC                           3:23-cv-20496
1175      Cross, Bernice Frazier                         Ludwig Law Firm, PLC                           3:23-cv-20498
1176       Caballero, Margarita                          Ludwig Law Firm, PLC                           3:23-cv-20569
1177        Soguilon, Ruthann       Martinian & Associates, Inc. // The Law Offices of Haytham Faraj    3:18-cv-03103

1178         Roberts, Audrey        Martinian & Associates, Inc. // The Law Offices of Haytham Faraj    3:18-cv-03105

1179         Tijerina, Claudia                          McEwen Law Firm, Ltd.                           3:18-cv-10830
1180         Hillyer, Richard                           McEwen Law Firm, Ltd.                           3:18-cv-11683
1181          Sneed, Maria                             McSweeney/Langevin, LLC                          3:18-cv-10303
1182        Sandeen, Lynnea                            McSweeney/Langevin, LLC                          3:18-cv-10416
1183         Playford, Mytyl                           McSweeney/Langevin, LLC                          3:18-cv-10506
1184          Scifo, George                            McSweeney/Langevin, LLC                          3:18-cv-10607
1185        Pascucci, Beatrice                         McSweeney/Langevin, LLC                          3:18-cv-10726
1186          Brown, Robert                            McSweeney/Langevin, LLC                          3:18-cv-11413
1187          Davis, Audrey                            McSweeney/Langevin, LLC                          3:18-cv-13512
1188        McDonald, James                            McSweeney/Langevin, LLC                          3:18-cv-13587




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1189      Shevenock, Michael                        McSweeney/Langevin, LLC                        3:18-cv-13689
1190         Johnson, Lydia                         McSweeney/Langevin, LLC                        3:19-cv-18199
1191          Fye, Dianna                           McSweeney/Langevin, LLC                        3:19-cv-18735
1192          Owens, Jack                           McSweeney/Langevin, LLC                        3:19-cv-19392
1193          Sostre, Rita                          Messa & Associates, P.C.                       3:19-cv-19540
1194      Smith, Roberta Lynn     Milstein, Jackson, Fairchild & Wade, LLP // The Michael Brady    3:19-cv-20329
                                                             Lynch Firm
1195      Prickett, Sandra Kopp   Milstein, Jackson, Fairchild & Wade, LLP // The Michael Brady    3:19-cv-20353
                                                             Lynch Firm
1196       Johnson, Cleather                          Morris & Player PLLC                         3:18-cv-11261
1197        Cobb, Catherine                             Morris Bart, LLC                           3:18-cv-08683
1198       Hardy, Shaphonia                             Morris Bart, LLC                           3:18-cv-08852
1199          Jones, Mable                              Morris Bart, LLC                           3:18-cv-09188
1200          Scott, Judith                             Morris Bart, LLC                           3:18-cv-09700
1201         Taylor Jr, Jack                            Morris Bart, LLC                           3:18-cv-09976
1202          Latin, Loretta                            Morris Bart, LLC                           3:18-cv-11001
1203        Hollman, Arzetta                            Morris Bart, LLC                           3:18-cv-15653
1204        Sonnier, Joseph                             Morris Bart, LLC                           3:18-cv-15972
1205       McLaughlin, Marie                            Morris Bart, LLC                           3:19-cv-14770
1206     Anderson, Jr., Edward                          Morris Law Firm                            3:18-cv-00844
1207        Smith, Barbara E                            Motley Rice, LLC                           3:18-cv-02181
1208      Campbell, Eugene W                            Murray Law Firm                            3:18-cv-09679
1209         Burns, Martha                              Murray Law Firm                            3:18-cv-11217
1210         Jacobson, Lori              Napoli Bern Ripka Shkolnik & Associates, LLP              3:18-cv-11416
1211          Battle, Byron              Napoli Bern Ripka Shkolnik & Associates, LLP              3:18-cv-13003
1212         Austin, Carolyn             Napoli Bern Ripka Shkolnik & Associates, LLP              3:18-cv-14384
1213         Cooper, Mary                Napoli Bern Ripka Shkolnik & Associates, LLP              3:18-cv-14537
1214         Prete, Richard              Napoli Bern Ripka Shkolnik & Associates, LLP              3:19-cv-00322
1215      Caldwell, Charles E.           Napoli Bern Ripka Shkolnik & Associates, LLP              3:19-cv-04760
1216         DiGiosio, Dino              Napoli Bern Ripka Shkolnik & Associates, LLP              3:19-cv-19381
1217        Ross, Frances E                            Napoli Shkolnik LLC                         3:18-cv-14257
1218        Dykeman, Amber                            Napoli Shkolnik, PLLC                        3:18-cv-00411
1219          Brazell, Joan                           Napoli Shkolnik, PLLC                        3:18-cv-00413
1220         France, Patrick                          Napoli Shkolnik, PLLC                        3:18-cv-00507
1221          Lunn, Diane                             Napoli Shkolnik, PLLC                        3:18-cv-00596
1222         Click, Margaret                          Napoli Shkolnik, PLLC                        3:18-cv-01016
1223          Azzari, Kelly                           Napoli Shkolnik, PLLC                        3:18-cv-01166
1224         Muller, Cecila                           Napoli Shkolnik, PLLC                        3:18-cv-01388
1225          Innis, Linda                            Napoli Shkolnik, PLLC                        3:18-cv-01969
1226         Longo, Bernice                           Napoli Shkolnik, PLLC                        3:18-cv-02130
1227       McDonald, Lyndell                          Napoli Shkolnik, PLLC                        3:18-cv-04959
1228       Shumake, Deborah                           Napoli Shkolnik, PLLC                        3:18-cv-08151
1229         Smith, Terence                           Napoli Shkolnik, PLLC                        3:18-cv-08161
1230          Harris, Erika                           Napoli Shkolnik, PLLC                        3:18-cv-08182
1231         Cohen, Minnie                            Napoli Shkolnik, PLLC                        3:18-cv-08183
1232        Jackson, Wanda                            Napoli Shkolnik, PLLC                        3:18-cv-08513
1233         Gibbons, John                            Napoli Shkolnik, PLLC                        3:18-cv-09118




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1234        Nichols, Henriette                  Napoli Shkolnik, PLLC              3:18-cv-09460
1235           Dugan, Kathy                     Napoli Shkolnik, PLLC              3:18-cv-09726
1236          Sanders, Anna                     Napoli Shkolnik, PLLC              3:18-cv-10235
1237            Prosa, Julie                    Napoli Shkolnik, PLLC              3:18-cv-10340
1238          Black, Wanda                      Napoli Shkolnik, PLLC              3:18-cv-10836
1239         Franklin, Angela                   Napoli Shkolnik, PLLC              3:18-cv-11260
1240        Caldwell, Le-Toria                  Napoli Shkolnik, PLLC              3:18-cv-12098
1241         Winters, Shavon                    Napoli Shkolnik, PLLC              3:18-cv-12447
1242           White, Robin                     Napoli Shkolnik, PLLC              3:18-cv-12452
1243         Martinez, Sybil A                  Napoli Shkolnik, PLLC              3:18-cv-12453
1244        Rutledge, Janell P                  Napoli Shkolnik, PLLC              3:18-cv-12878
1245         Seiffert, Siegrid L                Napoli Shkolnik, PLLC              3:18-cv-12885
1246         Manigo, Gregory                    Napoli Shkolnik, PLLC              3:18-cv-12957
1247          Miller, Lindsay                   Napoli Shkolnik, PLLC              3:18-cv-13060
1248       Seguin, Stephanie A                  Napoli Shkolnik, PLLC              3:18-cv-13080
1249         Findlay, Rachael                   Napoli Shkolnik, PLLC              3:18-cv-13470
1250        Jamerson, Carolyn                   Napoli Shkolnik, PLLC              3:18-cv-13978
1251           Fardig, Coral                    Napoli Shkolnik, PLLC              3:18-cv-13990
1252          Mallett, Diane                    Napoli Shkolnik, PLLC              3:18-cv-14646
1253          Brown, Sharon                     Napoli Shkolnik, PLLC              3:18-cv-14763
1254          Cortez, Shelly                    Napoli Shkolnik, PLLC              3:18-cv-14921
1255         Darcey, Eleanor                    Napoli Shkolnik, PLLC              3:18-cv-15034
1256          Ritzen, Susan                     Napoli Shkolnik, PLLC              3:18-cv-16481
1257         Harris, Delores A                  Napoli Shkolnik, PLLC              3:18-cv-16523
1258          Parsley, Mary                     Napoli Shkolnik, PLLC              3:18-cv-16530
1259     Wright-Laurent, Katherine              Napoli Shkolnik, PLLC              3:18-cv-16531
1260        Humphrey, Queen                     Napoli Shkolnik, PLLC              3:18-cv-16544
1261         Sandoval, Sylvia                   Napoli Shkolnik, PLLC              3:18-cv-16735
1262          Hitchcock, Jeff                   Napoli Shkolnik, PLLC              3:18-cv-16864
1263           Hadnot, Jana                     Napoli Shkolnik, PLLC              3:18-cv-16880
1264          Hamilton, Rita                    Napoli Shkolnik, PLLC              3:18-cv-16890
1265           Griffin, Helen                   Napoli Shkolnik, PLLC              3:18-cv-17145
1266           Greer, Latisia                   Napoli Shkolnik, PLLC              3:18-cv-17148
1267          Haines, Shawn                     Napoli Shkolnik, PLLC              3:18-cv-17151
1268         Addison, Teresa                    Napoli Shkolnik, PLLC              3:19-cv-05427
1269          Bagby, Wesley                     Napoli Shkolnik, PLLC              3:19-cv-05518
1270            Bolt, Colin                     Napoli Shkolnik, PLLC              3:19-cv-05549
1271       Holdcroft, Carmelita                 Napoli Shkolnik, PLLC              3:19-cv-05565
1272          Uken, Darlene                     Napoli Shkolnik, PLLC              3:19-cv-05581
1273        Thrash, Syrenthia                   Napoli Shkolnik, PLLC              3:19-cv-05614
1274         Tetreault, Cheryl                  Napoli Shkolnik, PLLC              3:19-cv-05618
1275        Syndor, Stephanie                   Napoli Shkolnik, PLLC              3:19-cv-05624
1276          Strojek, Dennis                   Napoli Shkolnik, PLLC              3:19-cv-05627
1277        Callahan, Michelle                  Napoli Shkolnik, PLLC              3:19-cv-05677
1278       Campus, Eleanor J.                   Napoli Shkolnik, PLLC              3:19-cv-05680
1279       Thompson, Jeffrey L.                 Napoli Shkolnik, PLLC              3:19-cv-05688




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1280         Chubb, Teresa                      Napoli Shkolnik, PLLC              3:19-cv-05692
1281        Sotelo Jr., Santos                  Napoli Shkolnik, PLLC              3:19-cv-05748
1282        Smith, Jamie M.                     Napoli Shkolnik, PLLC              3:19-cv-05752
1283        Hayes, Demrice                      Napoli Shkolnik, PLLC              3:19-cv-05757
1284       Doyle-Long, Janice                   Napoli Shkolnik, PLLC              3:19-cv-05827
1285      Durante, Christopher                  Napoli Shkolnik, PLLC              3:19-cv-05839
1286        D'Amico, Heather                    Napoli Shkolnik, PLLC              3:19-cv-05855
1287       Deimler, Elizabeth                   Napoli Shkolnik, PLLC              3:19-cv-05875
1288      Ferguson, Princess D                  Napoli Shkolnik, PLLC              3:19-cv-05880
1289       Simmons, Kenneth                     Napoli Shkolnik, PLLC              3:19-cv-05925
1290         Sawez, Ehsan                       Napoli Shkolnik, PLLC              3:19-cv-05932
1291        Sandoval, Denice                    Napoli Shkolnik, PLLC              3:19-cv-05934
1292        Prince Sr., Santo                   Napoli Shkolnik, PLLC              3:19-cv-05940
1293         Pesicka, Ernest                    Napoli Shkolnik, PLLC              3:19-cv-05956
1294         Groves, Linda J                    Napoli Shkolnik, PLLC              3:19-cv-06257
1295        Williams, Predolia                  Napoli Shkolnik, PLLC              3:19-cv-06270
1296         Hampton, Judy                      Napoli Shkolnik, PLLC              3:19-cv-06272
1297          Duren, Frank                      Napoli Shkolnik, PLLC              3:19-cv-06306
1298    Morton-Maultsby, Rosie V.               Napoli Shkolnik, PLLC              3:19-cv-06309
1299          Miles, Linda                      Napoli Shkolnik, PLLC              3:19-cv-06314
1300         Myers, Lakesha                     Napoli Shkolnik, PLLC              3:19-cv-06368
1301       Hornbacher, Craig                    Napoli Shkolnik, PLLC              3:19-cv-06371
1302      Hayden, Corissa Ann                   Napoli Shkolnik, PLLC              3:19-cv-06390
1303      Hearn Sr., Thomas E.                  Napoli Shkolnik, PLLC              3:19-cv-06398
1304       Wright, Charlette H.                 Napoli Shkolnik, PLLC              3:19-cv-06415
1305         McCluer, Stacy                     Napoli Shkolnik, PLLC              3:19-cv-06420
1306           Ellis, Joy C.                    Napoli Shkolnik, PLLC              3:19-cv-06427
1307        Lockhart, Barbara                   Napoli Shkolnik, PLLC              3:19-cv-06430
1308         Mack, Barbara                      Napoli Shkolnik, PLLC              3:19-cv-06763
1309       Lambert, Gaston J                    Napoli Shkolnik, PLLC              3:19-cv-06791
1310      Lansdowne, Carolyn                    Napoli Shkolnik, PLLC              3:19-cv-06795
1311          Lash, Anne M                      Napoli Shkolnik, PLLC              3:19-cv-06798
1312          Amin, Saket                       Napoli Shkolnik, PLLC              3:19-cv-06902
1313           Jones, Lula                      Napoli Shkolnik, PLLC              3:19-cv-08910
1314         Penley, Brittany                   Napoli Shkolnik, PLLC              3:19-cv-08914
1315         Gautier, Mona                      Napoli Shkolnik, PLLC              3:19-cv-09568
1316           Price, Carol                     Napoli Shkolnik, PLLC              3:19-cv-10014
1317        Carswell, Janet N                   Napoli Shkolnik, PLLC              3:19-cv-11480
1318        Jones, Phyllis M                    Napoli Shkolnik, PLLC              3:19-cv-12510
1319         Powell, Marsha                     Napoli Shkolnik, PLLC              3:19-cv-16466
1320         Carlile, Patrick                   Napoli Shkolnik, PLLC              3:19-cv-18244
1321          Garcia, Lucy                      Napoli Shkolnik, PLLC              3:19-cv-18341
1322       Katalinas, Margaret                  Napoli Shkolnik, PLLC              3:19-cv-21028
1323         Hurley, Kandis                     Nix Patterson & Roach              3:18-cv-15805
1324          Valdez, Maria                    NS PR Law Services LLC              3:23-cv-11847
1325         McDowell, Cleo                    NS PR Law Services LLC              3:23-cv-13213




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1326        Waite, Kimberly                   NS PR Law Services LLC              3:23-cv-14622
1327       Starks, Sharonda                   NS PR Law Services LLC              3:23-cv-14625
1328          Delisle, Ellen                  NS PR Law Services LLC              3:23-cv-14653
1329          Otis, Roberta                   NS PR Law Services LLC              3:23-cv-14662
1330       Rojas, Stephanie                   NS PR Law Services LLC              3:23-cv-14665
1331      Martin, Brittany Terry              NS PR Law Services LLC              3:23-cv-14806
1332      Daunhauer, Sandra                   NS PR Law Services LLC              3:23-cv-15734
1333         Davis, Pamela                    NS PR Law Services LLC              3:23-cv-15753
1334        Hamilton, James                   NS PR Law Services LLC              3:23-cv-15926
1335         Wilson, Peggy                    NS PR Law Services LLC              3:23-cv-15975
1336         Graham, John                     NS PR Law Services LLC              3:23-cv-16011
1337      Watson, Linda Joyce                 NS PR Law Services LLC              3:23-cv-16042
1338         Warren, Dawn                     NS PR Law Services LLC              3:23-cv-16068
1339         Warner, Darla                    NS PR Law Services LLC              3:23-cv-16089
1340          Glass, Lillian                  NS PR Law Services LLC              3:23-cv-16237
1341        Glasper, Lutosha                  NS PR Law Services LLC              3:23-cv-16253
1342         Trybula, Anna                    NS PR Law Services LLC              3:23-cv-16272
1343         Brewer, Marilu                   NS PR Law Services LLC              3:23-cv-16475
1344          Baetge, Kelly                   NS PR Law Services LLC              3:23-cv-16501
1345          Swain, Holly                    NS PR Law Services LLC              3:23-cv-16505
1346         Bear, Rosanna                    NS PR Law Services LLC              3:23-cv-16512
1347        Bishop, Johanna                   NS PR Law Services LLC              3:23-cv-16724
1348          Millar, Gary                    NS PR Law Services LLC              3:23-cv-16728
1349         Bonilla, Jadila                  NS PR Law Services LLC              3:23-cv-16793
1350        Nordberg, Penny                   NS PR Law Services LLC              3:23-cv-16869
1351        Obremski, John                    NS PR Law Services LLC              3:23-cv-16898
1352         Frett, Richard                   NS PR Law Services LLC              3:23-cv-16947
1353        Gaskin, Angela                    NS PR Law Services LLC              3:23-cv-17290
1354      Southerland, Shirley                NS PR Law Services LLC              3:23-cv-17690
1355        Jackson, Tammy                    NS PR Law Services LLC              3:23-cv-17765
1356        Finger, Herschel                  NS PR Law Services LLC              3:23-cv-17931
1357         Phillips, Robert                 NS PR Law Services LLC              3:23-cv-17974
1358        Figueroa, David                   NS PR Law Services LLC              3:23-cv-17993
1359        Fisher, Kenneth                   NS PR Law Services LLC              3:23-cv-18002
1360         Rojas, Rachel                    NS PR Law Services LLC              3:23-cv-18031
1361         Martin, Pamela                   NS PR Law Services LLC              3:23-cv-18045
1362         Bradford, Earl                   NS PR Law Services LLC              3:23-cv-18086
1363          King, Wade                      NS PR Law Services LLC              3:23-cv-18101
1364         Knight, Kristal                  NS PR Law Services LLC              3:23-cv-18166
1365        Ferguson, Jack                    NS PR Law Services LLC              3:23-cv-18176
1366         Ferreira, Maria                  NS PR Law Services LLC              3:23-cv-18218
1367        Ferrera, Alyssa                   NS PR Law Services LLC              3:23-cv-18304
1368        Flaherty, James                   NS PR Law Services LLC              3:23-cv-18335
1369        Garcia, Deborah                   NS PR Law Services LLC              3:23-cv-18381
1370          Garcia, Luz                     NS PR Law Services LLC              3:23-cv-18386
1371       Crockett, Rochelle                 NS PR Law Services LLC              3:23-cv-18391




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Row #          Case Name                         Plaintiff Firm(s)               Current Cause #
1372        Glogowski, Karen                  NS PR Law Services LLC              3:23-cv-18397
1373          Gold, Susan                     NS PR Law Services LLC              3:23-cv-18400
1374         Melton, Ranelle                  NS PR Law Services LLC              3:23-cv-18480
1375        Wheeler, Victoria                 NS PR Law Services LLC              3:23-cv-18483
1376       Flores-O'toole, Gina               NS PR Law Services LLC              3:23-cv-18496
1377           Ellis, Robin                   NS PR Law Services LLC              3:23-cv-18497
1378          Mills, Jessica                  NS PR Law Services LLC              3:23-cv-18557
1379       Grimes, Sharmaine                  NS PR Law Services LLC              3:23-cv-18643
1380    Southwell-Redmond, Susan              NS PR Law Services LLC              3:23-cv-18661
1381           Otis, Maree                    NS PR Law Services LLC              3:23-cv-18700
1382         Bertola, Michael                 NS PR Law Services LLC              3:23-cv-18708
1383        Dickson, Lesdreka                 NS PR Law Services LLC              3:23-cv-18714
1384         Muradyan, Leya                   NS PR Law Services LLC              3:23-cv-18719
1385          Davis, Wanda                    NS PR Law Services LLC              3:23-cv-18721
1386         Cooper, Pamela                   NS PR Law Services LLC              3:23-cv-18728
1387         Celaya, Marne                    NS PR Law Services LLC              3:23-cv-18738
1388        Benolkin, Amanda                  NS PR Law Services LLC              3:23-cv-18748
1389        Ivey, Kimberly A.                 NS PR Law Services LLC              3:23-cv-18778
1390         Hayes, James                     NS PR Law Services LLC              3:23-cv-18831
1391          Carter, John                    NS PR Law Services LLC              3:23-cv-18885
1392        Holman, Richard                   NS PR Law Services LLC              3:23-cv-18889
1393         Webster, Irena                   NS PR Law Services LLC              3:23-cv-18899
1394         Drays, Michael                   NS PR Law Services LLC              3:23-cv-19474
1395       Ellison, Rhoygnette                NS PR Law Services LLC              3:23-cv-19488
1396         Murray, Ernest                   NS PR Law Services LLC              3:23-cv-20030
1397        Vandorn, Melody                   NS PR Law Services LLC              3:23-cv-20117
1398         Maloy, Tammy                     NS PR Law Services LLC              3:23-cv-20124
1399        James, Jackylen                   NS PR Law Services LLC              3:23-cv-20293
1400         Sanders, Nancy                   NS PR Law Services LLC              3:23-cv-20294
1401        Williams, Lindsey                 NS PR Law Services LLC              3:23-cv-20297
1402        Hemsath, Michael                  NS PR Law Services LLC              3:23-cv-20509
1403         Kirtland, Mona                   NS PR Law Services LLC              3:23-cv-20576
1404        Lawless, Colleen                  NS PR Law Services LLC              3:23-cv-20598
1405          Moore, Diane                    NS PR Law Services LLC              3:23-cv-20640
1406          Norris, Patrick                 NS PR Law Services LLC              3:23-cv-20697
1407         Peters, Amanda                   NS PR Law Services LLC              3:23-cv-20824
1408          Pietras, Lisa                   NS PR Law Services LLC              3:23-cv-20858
1409      Shaull, Rachel Nicole               NS PR Law Services LLC              3:23-cv-20982
1410         St. George, Lisa                 NS PR Law Services LLC              3:23-cv-21050
1411       Streetman, Theresa                 NS PR Law Services LLC              3:23-cv-21066
1412        Williams, Barbara                 NS PR Law Services LLC              3:23-cv-21215
1413         Reeder, Tara S.                  NS PR Law Services LLC              3:23-cv-21265
1414         Okeefe, Janice                   NS PR Law Services LLC              3:23-cv-21466
1415       Hazlett, Betty Viola         PIERCE SKRABANEK BRUERA, PLLC             3:18-cv-11628
1416        Slusher, Theresa            PIERCE SKRABANEK BRUERA, PLLC             3:18-cv-11632
1417          Lane, Renada              PIERCE SKRABANEK BRUERA, PLLC             3:18-cv-11827




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Row #         Case Name                               Plaintiff Firm(s)                    Current Cause #
1418       Bernstein, Leonard                         Potts Law Firm                        3:18-cv-00157
1419          Motes, Alisha                           Potts Law Firm                        3:18-cv-00189
1420       Stockton, Stephani                         Potts Law Firm                        3:18-cv-00578
1421           Thai, David                            Potts Law Firm                        3:18-cv-00595
1422       Stewart, Candace                           Potts Law Firm                        3:18-cv-00771
1423        McCurty, Corine                           Potts Law Firm                        3:18-cv-00783
1424      Kellar Walker, Sandra                       Potts Law Firm                        3:18-cv-00799
1425      MacIas, George Luis                         Potts Law Firm                        3:18-cv-01309
1426          Price, Ginger                           Potts Law Firm                        3:18-cv-04721
1427       Thomas, Nicanora                           Potts Law Firm                        3:18-cv-14391
1428         Smardo, Kerry                            Potts Law Firm                        3:18-cv-15384
1429         Davie, Celeste                           Potts Law Firm                        3:18-cv-16869
1430         Resua, Nancy                             Potts Law Firm                        3:18-cv-17018
1431        Hayman, Shelia                            Potts Law Firm                        3:19-cv-00038
1432      Bardsley, Christopher                       Potts Law Firm                        3:19-cv-00137
1433         Barnes, Lauren                           Potts Law Firm                        3:19-cv-00297
1434       Bartosiak, Audrey                          Potts Law Firm                        3:19-cv-00339
1435        Barr, Jimmy Lee                           Potts Law Firm                        3:19-cv-00676
1436          Davis, Fern                             Potts Law Firm                        3:19-cv-00699
1437          Dirico, Silvio                          Potts Law Firm                        3:19-cv-01012
1438      Doty, Therese Corbin                        Potts Law Firm                        3:19-cv-01039
1439           Hill, Rachel                           Potts Law Firm                        3:19-cv-01236
1440        Johnson, Debra                            Potts Law Firm                        3:19-cv-01500
1441          Keen, Phyllis                           Potts Law Firm                        3:19-cv-04654
1442         Marty, Tammy                             Potts Law Firm                        3:19-cv-04940
1443          Patton, Linda                           Potts Law Firm                        3:19-cv-05129
1444        Renwand, Carla                            Potts Law Firm                        3:19-cv-05329
1445       Swets, Linda Jean                          Potts Law Firm                        3:19-cv-05540
1446        Vaughan, Sandi                            Potts Law Firm                        3:19-cv-05681
1447         Warner, Carlee                           Potts Law Firm                        3:19-cv-05877
1448        Martinez, Diane                           Potts Law Firm                        3:19-cv-06941
1449     Collins, Garrett George                      Potts Law Firm                        3:19-cv-09951
1450        McManus, Susan                            Potts Law Firm                        3:19-cv-12128
1451         Graham, Carrie                           Potts Law Firm                        3:19-cv-13015
1452         Butler, Charles                          Potts Law Firm                        3:19-cv-14504
1453        McGuire, Glenda                           Potts Law Firm                        3:19-cv-16500
1454         Toles, Mandrill                          Potts Law Firm                        3:19-cv-18048
1455       Longberry, Autumn                          Potts Law Firm                        3:19-cv-21439
1456        Thompson, Terry                           Potts Law Firm                        3:19-cv-21504
1457        Rafferty, Thomas                     Powers Rogers & Smith LLP                  3:18-cv-14659
1458         Grinage, Leon                        Pribanic & Pribanic, LLC                  3:19-cv-08973
1459         Gould, William                       Pribanic & Pribanic, LLC                  3:19-cv-08977
1460          Ellis, Raynill                               Pro Se                           3:18-cv-14534
1461          Kelley, Laura                                Pro se                           3:18-cv-15734
1462      Barnhouse, Loretta D       Reeves & Goff, P.C. // The Dreesen Law Firm, LLC       3:19-cv-21273
1463        Lopatka, Victoria                      Reich & Binstock, LLP                    3:18-cv-10729




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Row #         Case Name                               Plaintiff Firm(s)                       Current Cause #
1464         Grenier, Ronald                       Reich & Binstock, LLP                       3:18-cv-14809
1465        Alorsan, Deborah                       Reich & Binstock, LLP                       3:19-cv-13192
1466        Blaylock, Shonna                       Reich & Binstock, LLP                       3:19-cv-13195
1467        Canaday, Pamela                        Reich & Binstock, LLP                       3:19-cv-13197
1468      Florence-Skipper, Ann                    Reich & Binstock, LLP                       3:19-cv-13200
1469         Heffern, Joyce                        Reich & Binstock, LLP                       3:19-cv-13201
1470       Hendrix, Jacquelyn                      Reich & Binstock, LLP                       3:19-cv-13203
1471          Ness, Joleen                         Reich & Binstock, LLP                       3:19-cv-13205
1472         Bowman, Paula                         Reich & Binstock, LLP                       3:19-cv-13212
1473        Browning, Teresa                       Reich & Binstock, LLP                       3:19-cv-13218
1474        Hochberg, Sylvia                       Reich & Binstock, LLP                       3:19-cv-13220
1475        Fracasse, Annie                        Reich & Binstock, LLP                       3:19-cv-13223
1476         Vazquez, Dalia                        Reich & Binstock, LLP                       3:19-cv-13230
1477        Contreras, Sonia                       Reich & Binstock, LLP                       3:19-cv-13253
1478       Parkers, Asmodeus                       Reich & Binstock, LLP                       3:19-cv-17812
1479         Wood, Tammie                          Reich & Binstock, LLP                       3:19-cv-18010
1480       Williams, Catherine                     Reich & Binstock, LLP                       3:19-cv-18011
1481         Shabazz, Edith                        Reich & Binstock, LLP                       3:19-cv-18012
1482        Aberbom, Debra                         Reich & Binstock, LLP                       3:19-cv-18013
1483      McCarrell, Samantha                      Reich & Binstock, LLP                       3:19-cv-18014
1484        Kloock, Jennifer                       Reich & Binstock, LLP                       3:19-cv-18016
1485        Boylan, Dee Ann                        Reich & Binstock, LLP                       3:19-cv-19373
1486     Parks-Friskey, Geannie                    Reich & Binstock, LLP                       3:19-cv-19378
1487         Etsitty, Darlene                      Reich & Binstock, LLP                       3:19-cv-19382
1488       Bruckner, Norman                        Reich & Binstock, LLP                       3:19-cv-21713
1489       Campbell, Shanna                     Robert J. DeBry & Associates                   3:19-cv-05913
1490         Pierce, Susan           Robinson, Calcagnie, Robinson, Shapiro, Davis, Inc.       3:18-cv-05726
1491           Riera, Lisa           Robinson, Calcagnie, Robinson, Shapiro, Davis, Inc.       3:23-cv-20505
1492      Frankel, Cheryl Tzirel                      Rodal Law, P.A.                          3:18-cv-14684
1493         Kerwin, Jason                        Ross Feller Casey, LLP                       3:18-cv-02739
1494         Ney, Mary Alice                      Ross Feller Casey, LLP                       3:18-cv-04572
1495           Ogle, Lisa                          Ross Feller Casey, LLP                      3:18-cv-09094
1496          Graley, Kathy                        Ross Feller Casey, LLP                      3:18-cv-11492
1497           Guy, Karen                          Ross Feller Casey, LLP                      3:18-cv-16343
1498       Chatfield, Candida                     Ross Feller Casey, LLP                       3:19-cv-08630
1499        Hubbert, Deborah                       Ross Feller Casey, LLP                      3:19-cv-17764
1500       Suonpera, Cynthia                       Ross Law Offices, P.C.                      3:19-cv-18393
1501      Coakley, Darlene Mae                  Rourke and Blumenthal, LLP                     3:19-cv-00022
1502         Loehr, Michelle                   Sanders Viener Grossman, LLP                    3:18-cv-08900
1503         Montie, Patricia                  Sanders Viener Grossman, LLP                    3:18-cv-10405
1504        Caldwell, Daphne              Schneider, Wallace, Cottrell Konecky LLP             3:23-cv-12051
1505      Gordon-Wolf, Debora             Schneider, Wallace, Cottrell Konecky LLP             3:23-cv-15601
1506         Osborn, Latoya               Schneider, Wallace, Cottrell Konecky LLP             3:23-cv-15806
1507          Murphy, Lena                Schneider, Wallace, Cottrell Konecky LLP             3:23-cv-15940
1508        Thompson, Lorna               Schneider, Wallace, Cottrell Konecky LLP             3:23-cv-15971
1509          House, Joyce                Schneider, Wallace, Cottrell Konecky LLP             3:23-cv-16007




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Row #         Case Name                             Plaintiff Firm(s)                 Current Cause #
1510         Johnson, Tiffani           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16024
1511       Brumfield, Conquis           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16039
1512          Griffin, Cabria           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16044
1513         Garfield, Tashe            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16077
1514         Mayfield, Kylyn            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16085
1515     Holland, Maria Martinez        Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16087
1516        Pumphrey, Elise             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16098
1517        Smith, Rose Ann             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16111
1518         Busano, Carla              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16147
1519    Abdur-Raheem, Habiballah        Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16149
1520        Jackman, Marvin             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16153
1521         Thomas, Apryl              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16189
1522          Tittle, Patricia          Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16192
1523          Giles, Latoya             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16198
1524         Johnson, Erica             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16209
1525          Todd, Krystal             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16216
1526       Mccraw, Tina Green           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16239
1527        Mcgilvery, Sherry           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16247
1528         Cannon, Tiffany            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16256
1529        Delacerna, Rhea             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16281
1530          Morgan, Larry             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16290
1531       Mcquivey, Ramona             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16292
1532            Miller, Kia             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16307
1533        Minnis, Shurraina           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16310
1534         Perkinson, Irish           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16336
1535        Parsons, Cynthia            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16563
1536    Rushing-Vargas, Roshanda        Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16617
1537        Castaphney, Cory            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16622
1538          Pourat, David             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16744
1539     Ramos, Carmen Montiel          Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16751
1540         Farris, Donald             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16762
1541         Williams, Alisha           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16778
1542          King, Felicia             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16810
1543         Wilson, Jennifer           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16811
1544         Kennie, Joyce              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16816
1545        Bjorklund, Glenn            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16832
1546         Kitson, Cynthia            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16890
1547         Myatt, Cynthia             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16913
1548          Kelley, Linda             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16956
1549         Gavlak, Gladys             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16983
1550           Tom, Sally               Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16988
1551          Saylor, Laura             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16997
1552          Sharpe, Trina             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-16998
1553       Jackson, Armstead            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17027
1554        Jackson, Bernard            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17039
1555        Jackman, Marvin             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17049




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Row #         Case Name                            Plaintiff Firm(s)                 Current Cause #
1556          Earle, Carole            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17068
1557         Rush, Tammy               Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17097
1558       Mccauley, Michael           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17148
1559         Kelly, Shaunte            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17152
1560         Kelly, Graciela           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17169
1561        Richard, Annette           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17457
1562     Richardmond, Markeytia        Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17459
1563       Richardson, Tiffany         Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17462
1564           Rios, Stella            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17479
1565         Rivers, Talacia           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17488
1566      Robinson, Cassondra          Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17498
1567      Rodgers, Feeneishia          Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17507
1568       Gordon, Imunique            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17697
1569          Green, David             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17737
1570          Gregg, Terry             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17774
1571          Gross, Marlin            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17808
1572         Noldon, Brigitte          Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17810
1573       Mackay, Candace             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17815
1574         Mccune, Isabel            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17846
1575       Hammons, Tacara             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17869
1576          Jones, Elena             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17873
1577          Soper, Maria             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17883
1578        Roscoe, Joseph             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17885
1579        Senig, Henrietta           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17905
1580       Stephens, Kendrick          Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17946
1581         Keen, Christine           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-17986
1582         Rader, Daniel             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18028
1583        Jones, Vanessa             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18124
1584           Hart, Kathy             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18137
1585           Bell, John              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18146
1586        Haydel, Melanie            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18175
1587         Bempah, Maya              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18255
1588       Hudson, Margaret            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18278
1589         Lumar, Sarata             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18306
1590         Cuffy, Jennifer           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18323
1591         Hunter, Valerie           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18332
1592       Jackson, Penelope           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18333
1593          Skoog, Terry             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18334
1594         Ross, Edward              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18384
1595         Torma, Gerard             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18389
1596      Crittenton, Demaurice        Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18399
1597        Hedrick, Barbara           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18403
1598        Harmola, Robert            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18422
1599         Keys, Carmen              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18580
1600          Page, Gloria             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18603
1601      Jones-Hiney, Patricia        Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18604




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1602          King, Warndra             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18634
1603           Ziegler, Amy             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18667
1604          White, Taneta             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18668
1605          Smith, Joyce              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18684
1606          Joe, Amanda               Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18685
1607         Moore, Bryana              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18696
1608          Moore, Loretta            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18709
1609         Kyle, Deumetrus            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18717
1610         Henley, James              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18726
1611          O'leary, John             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18727
1612        Vandible, Nideichi          Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18729
1613         Rubin, Shenene             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18733
1614       Mccullough, Wanda            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18745
1615         Ransom, Toria              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18771
1616         Wilcox, Twondy             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18773
1617        Walker, Clestene            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18790
1618        Loschiavo, Joseph           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18792
1619           Sands, Mary              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18795
1620          Steward, Larry            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18807
1621          Yaw, Winston              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18810
1622         Rogers, Tarice             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18812
1623         Gordon, Cristal            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18821
1624        Sweat, Simon C.             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-18880
1625         Johnson, Mary              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19040
1626          Kirton, Francis           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19062
1627          Heard, Donna              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19143
1628         Trammell, Alexis           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19243
1629        Tolbert, Stephanie          Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19494
1630     Zurowski, Pamela Marino        Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19506
1631          Harrell, Renee            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19509
1632          Heer, Richard             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19520
1633          Scott, Lakeya             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19530
1634          Tovar, Alfredo            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19535
1635      Evans-Chalup, Debra           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19537
1636         Vaughn, Darryl             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19539
1637         Sharp, Charles             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19549
1638         Warren, Jerome             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19551
1639        Forman, Clarissa            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19558
1640           Murillo, Ivan            Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19564
1641     Walker, Eboney Shepard         Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19585
1642       Reynolds, Nathaniel          Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19608
1643           Hill, Carlos             Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19618
1644        Frazier, Ida Louise         Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19776
1645           Sager, Lisa              Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19783
1646       Lambrecht, Caroline          Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19784
1647        Arterbery, Yvette           Schneider, Wallace, Cottrell Konecky LLP       3:23-cv-19793




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1648          Luckett, Mary               Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-19796
1649        Richey, Dwalette              Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-21334
1650          Martin, Cecilia             Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-21338
1651         Smith, Franklin              Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-21345
1652        Martin, Charlene              Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-21347
1653           Adkins, Lisa               Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-21350
1654        Johnson, Donald               Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-21354
1655           Akers, Larry               Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-21758
1656         Dearth, Richard              Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-21762
1657         Jerkins, Charles             Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-21771
1658          Dykes, Shelly               Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-21789
1659        Abraugh, Shawn                Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-21796
1660          Bell, Anthony               Schneider, Wallace, Cottrell Konecky LLP         3:23-cv-21800
1661         Prievo, Deborah                       Simmons Hanly Conroy                    3:18-cv-01235
1662         Duddy, Deirdre                        Simmons Hanly Conroy                    3:18-cv-01281
1663          Kath, Sharon                         Simmons Hanly Conroy                    3:18-cv-01320
1664           Ernst, Dana                         Simmons Hanly Conroy                    3:18-cv-02698
1665         Tucker, Michelle                      Simmons Hanly Conroy                    3:18-cv-04713
1666          Davlin, Doris                        Simmons Hanly Conroy                    3:18-cv-08459
1667        Hampton, Susan                         Simmons Hanly Conroy                    3:19-cv-09393
1668         Taylor, Jimmie              SKIKOS, CRAWFORD, SKIKOS & JOSEPH                 3:18-cv-01294
1669           Hill, Randy               SKIKOS, CRAWFORD, SKIKOS & JOSEPH                 3:18-cv-01464
1670         Towler, Beverly             SKIKOS, CRAWFORD, SKIKOS & JOSEPH                 3:18-cv-03877
1671         Weber, Vincent              SKIKOS, CRAWFORD, SKIKOS & JOSEPH                 3:18-cv-07956
1672     Scott, Alaina Gail Nicole                Springer Law Firm PLLC                   3:19-cv-21013
1673           Sult, Larisa             Sullivan Papain Block McGrath & Cannavo P.C.       3:23-cv-19765
1674        Anthony, Martinez           Sullivan Papain Block McGrath & Cannavo P.C.       3:23-cv-19959
1675           LOPEZ, IDA               Sullivan Papain Block McGrath & Cannavo P.C.       3:23-cv-22335
1676          Krastel, Carol                      Summers & Johnson, P.C.                  3:18-cv-13291
1677          Willis, Dorothy                     Summers & Johnson, P.C.                  3:18-cv-17078
1678         Stockwell, Linda                     Summers & Johnson, P.C.                  3:18-cv-17084
1679        Hamilton, Robert                       The Carlson Law Firm                    3:23-cv-11935
1680        Chaney, Latasha                        The Carlson Law Firm                    3:23-cv-15779
1681         Neher, Cathy Jo                       The Carlson Law Firm                    3:23-cv-16116
1682         Perdue, Amelia                        The Carlson Law Firm                    3:23-cv-16462
1683         Sticken, Donna                        The Carlson Law Firm                    3:23-cv-16477
1684         Williamson, Lela                      The Carlson Law Firm                    3:23-cv-16490
1685           Burrell, Zia                        The Carlson Law Firm                    3:23-cv-18835
1686        Hamilton, Dawn R                       The Carlson Law Firm                    3:23-cv-18850
1687        Arthur, Casandra                       The Carlson Law Firm                    3:23-cv-19322
1688         Mcgregor, Paris                       The Carlson Law Firm                    3:23-cv-19336
1689         Dumas, Wilona                         The Carlson Law Firm                    3:23-cv-19369
1690         Soirez, Chasity                       The Carlson Law Firm                    3:23-cv-19375
1691        Duncan, Ramona                         The Carlson Law Firm                    3:23-cv-19390
1692       Baird-Orji, Geneva                      The Carlson Law Firm                    3:23-cv-19400
1693         Adkins, Melicia                       The Carlson Law Firm                    3:23-cv-19428




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1694         Rotella, Linda                   The Carlson Law Firm                3:23-cv-19431
1695         Lewis, Sheena                    The Carlson Law Firm                3:23-cv-19446
1696       Bergman, Monya                     The Carlson Law Firm                3:23-cv-19457
1697         Prentice, Dnay                   The Carlson Law Firm                3:23-cv-19458
1698      Thompson, Steffani                  The Carlson Law Firm                3:23-cv-19467
1699        Guss, Christine                   The Carlson Law Firm                3:23-cv-19473
1700      Matthews, Carmenia                  The Carlson Law Firm                3:23-cv-19485
1701       Livingston, Patricia              The Crone Law Firm, PLC              3:18-cv-12065
1702         Harris, Angela                    The Cuffie Law Firm                3:18-cv-01405
1703          Kent, Aaron                      The Cuffie Law Firm                3:18-cv-08104
1704       Harris, Joenathan                   The Cuffie Law Firm                3:18-cv-14687
1705      Edwards, Benjamin                    The Cuffie Law Firm                3:18-cv-16916
1706        Hymes, Leonard                     The Cuffie Law Firm                3:18-cv-17080
1707        Holden, Wanda                      The Cuffie Law Firm                3:18-cv-17091
1708         Dukes, William                    The Cuffie Law Firm                3:18-cv-17286
1709         Rosser, Ninda                     The Cuffie Law Firm                3:18-cv-17299
1710         Salter, Allison                   The Cuffie Law Firm                3:18-cv-17308
1711         Vinson, Toiya                     The Cuffie Law Firm                3:18-cv-17380
1712        Tripp, Suzanne                    The Deaton Law Firm                 3:19-cv-12732
1713          Thoun, Sally                    The Deaton Law Firm                 3:19-cv-12733
1714       Gonzales, Carmen                   The Deaton Law Firm                 3:19-cv-12736
1715      Ciccariello, Thomas                 The Deaton Law Firm                 3:19-cv-12737
1716          Brown, Lillie                   The Deaton Law Firm                 3:19-cv-12773
1717          Miser, Linda                    The Deaton Law Firm                 3:19-cv-12774
1718         Paige, Cheryl                     The Deaton Law Firm                3:19-cv-12777
1719        Koester, Elaine                   The Deaton Law Firm                 3:19-cv-12778
1720         Stebner, Beth                     The Deaton Law Firm                3:19-cv-12779
1721         Vollmer, Karen                   The Deaton Law Firm                 3:19-cv-12781
1722          Tillman, Amy                    The Deaton Law Firm                 3:19-cv-12782
1723       Ricketts, Elizabeth                The Deaton Law Firm                 3:19-cv-12797
1724         Farmer, Lenel                     The Deaton Law Firm                3:19-cv-12800
1725         Berreth, Gayle                    The Deaton Law Firm                3:19-cv-12803
1726        Marquez, Cecily                   The Deaton Law Firm                 3:19-cv-12972
1727       Mondragon, Betty                    The Deaton Law Firm                3:19-cv-12973
1728        Brown, M Barrett              The Dilorenzo Law Firm, LLC             3:19-cv-01139
1729       Armstead, Darnille                 The Driscoll Firm, LLC              3:23-cv-12983
1730         Heyser, Janice                   The Driscoll Firm, LLC              3:23-cv-16138
1731        Mann, Christine                   The Driscoll Firm, LLC              3:23-cv-17565
1732        Rodriguez, Dora                   The Driscoll Firm, LLC              3:23-cv-17874
1733      Swanson, Lakeysha                   The Driscoll Firm, LLC              3:23-cv-18567
1734       Torrance, Latisha                  The Driscoll Firm, LLC              3:23-cv-18583
1735        Ward, Roxanne                     The Driscoll Firm, LLC              3:23-cv-18606
1736          Welch, Talia                    The Driscoll Firm, LLC              3:23-cv-18614
1737       Anderson, Donna                    The Driscoll Firm, LLC              3:23-cv-18984
1738         Ebert, Ronald                    The Driscoll Firm, LLC              3:23-cv-19053
1739      Buenrosto, Beatrice                 The Driscoll Firm, LLC              3:23-cv-19325




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1740          Fifield, Bret                    The Driscoll Firm, LLC              3:23-cv-19662
1741      Jankowski, Richard                   The Driscoll Firm, LLC              3:23-cv-19670
1742        McCurdy, Bruce                     The Driscoll Firm, LLC              3:23-cv-19672
1743        Crincoli, Louise                 The Ferraro Law Firm, P.A.            3:19-cv-13475
1744        Komoroski, Mary                  The Goss Law Firm, P.C.               3:18-cv-12522
1745        Nuckols, Ethel M              The Michael Brady Lynch Firm             3:18-cv-01404
1746        Sieckman, Karl                The Michael Brady Lynch Firm             3:18-cv-03003
1747       Varisco, Katrina M                   The Miller Firm, LLC               3:19-cv-01029
1748       Cleverley, Verna S                   The Miller Firm, LLC               3:19-cv-12530
1749         WIlliams, Judy                   The Mitchell Firm, PLLC              3:18-cv-05532
1750      Michaels, Chrystasya                The Potts Law Firm, LLP              3:18-cv-16981
1751        Cabrera, Virginia                 The Potts Law Firm, LLP              3:19-cv-00609
1752          Davis, Neal                     The Potts Law Firm, LLP              3:19-cv-00916
1753         Hyde, Jolene                     The Potts Law Firm, LLP              3:19-cv-01411
1754       Stewart, Gennette                  The Potts Law Firm, LLP              3:19-cv-05432
1755         Mann, Wanda                      The Potts Law Firm, LLP              3:19-cv-06948
1756          Six, Larry G.                     The Segal Law Firm                 3:23-cv-15730
1757     Sanchez, Jacqueline S.                 The Segal Law Firm                 3:23-cv-15740
1758      Makarewicz, Edmund                    The Segal Law Firm                 3:23-cv-16745
1759         Gipson, Ruth                       The Segal Law Firm                 3:23-cv-17718
1760        Thurman, Karen                      The Segal Law Firm                 3:23-cv-17895
1761      Corson, Christian P.                  The Segal Law Firm                 3:23-cv-18213
1762        Brown, Richard                   The Washington Firm, PC               3:18-cv-12361
1763       Schofield, Mary Jo                 The Weinberg Law Firm                3:18-cv-16151
1764        Brown, Melanie                The Whitehead Law Firm, LLC              3:19-cv-04872
1765          Cliff, Shirley              The Whitehead Law Firm, LLC              3:19-cv-06001
1766         Warf, Nancy J                      Thornton & Naumes                  3:18-cv-03166
1767         Brooks, Sylvia                     Thornton & Naumes                  3:19-cv-00563
1768       Lyman, Richard E                   Thornton Law Firm LLP                3:19-cv-07142
1769         Griffith, Edna                   Thornton Law Firm LLP                3:19-cv-18037
1770      Wreglesworth, Janice                 TorHoerman Law LLC                  3:19-cv-21040
1771         Jones, Wanda                          Trammell PC                     3:19-cv-09340
1772         Gatlin, Adaire                        Trammell PC                     3:19-cv-09386
1773          Yates, Linda                         Trammell PC                     3:19-cv-09389
1774         Walton, Carla                         Trammell PC                     3:19-cv-09390
1775       Pandola, Kimberly                       Trammell PC                     3:19-cv-09641
1776        Stringer, Becky                        Trammell PC                     3:19-cv-09648
1777        Gredzicki, Paul                        Trammell PC                     3:19-cv-12445
1778        Barker, Kandice                        Trammell PC                     3:19-cv-12930
1779          Kent, Debra                          Trammell PC                     3:19-cv-12938
1780      Martino-Strid, Grace                     Trammell PC                     3:19-cv-20370
1781        McKee, Robbie                     Vaughan Law Firm, P.C.               3:18-cv-11475
1782        Archer, Melissa                   Vaughan Law Firm, P.C.               3:18-cv-11989
1783        Deboth, Ramona                    Vaughan Law Firm, P.C.               3:18-cv-12007
1784        Hartley, William                  Vaughan Law Firm, P.C.               3:18-cv-15228
1785         Jay, Christine                   Vaughan Law Firm, P.C.               3:19-cv-08165




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1786         Shriver, Darwin                  Vaughan Law Firm, P.C.               3:19-cv-08169
1787          Dubois, Cathy                   Wagstaff & Cartmell, LLP             3:18-cv-03081
1788         Garland, Sophia                  Wagstaff & Cartmell, LLP             3:18-cv-09876
1789          Marx, Yvonne                    Wagstaff & Cartmell, LLP             3:18-cv-11041
1790         Donnelly, Kate                   Wagstaff & Cartmell, LLP             3:18-cv-15533
1791       Johnson, Nancy M                   Wagstaff & Cartmell, LLP             3:18-cv-17507
1792        Moore, Susan M                    Wagstaff & Cartmell, LLP             3:19-cv-03510
1793         Coon, Renee F                    Wagstaff & Cartmell, LLP             3:19-cv-07322
1794     Milliken-McKoy, Deborah              Weitz & Luxenberg, P.C.              3:23-cv-14610
1795         Ruth, Brandy H.                  Weitz & Luxenberg, P.C.              3:23-cv-14612
1796          Spall, Wendy                    Weitz & Luxenberg, P.C.              3:23-cv-14615
1797       Storniolo, Maryann                 Weitz & Luxenberg, P.C.              3:23-cv-14616
1798        Kosmyna, Lori A             Williams Declark Tuschman Co., L.P.A       3:19-cv-14024
1799         Giso, Michael J                     Wocl Leydon LLC                   3:18-cv-08515
1800       Arendale, Christina                     Wright McCall                   3:23-cv-18578




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